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                 EXHIBIT “C”
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COMMERCIAL LINES POLICY




                 Security National Insurance Company


                           Security National Insurance Company

                                     12790 Merit Drive
                                    Dallas, Texas 75251




THIS POLICY CONSISTS OF:
− DECLARATIONS
− COMMON POLICY CONDITIONS
− COVERAGE FORMS
  APPLICABLE ENDORSEMENTS




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Security National Insurance Company


In Witness Whereof, the Company has caused this policy to be executed and attested, and, if required by
state law, this policy shall not be valid unless countersigned by a duly authorized representative of the
Company.




                                              President




                                              Chris Foy




Page 2 of 2                                                                         SES JACKET 09 11
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                                                  Privacy Policy
                                   Security National Insurance Company
We value your business and trust in us and respect the privacy and confidentiality of your nonpublic personal information.

Our Practices Regarding Privacy and Confidentiality

We are committed to keeping your information secure and confidential, regardless of whether information is received by
mail, telephone, Internet or in person.

The nonpublic personal information about you that is collected is utilized only to the extent necessary to effect, deliver,
administer or enforce insurance service to you and is disclosed only as permitted by law. We may also disclose certain
information to nonaffiliated third parties.

If you prefer that we not disclose nonpublic personal information about you to third parties, you may opt out of those
disclosures, that is, you may direct us not to make those disclosures by contacting us at the address and phone number
listed below.

Likewise, to the extent we utilize other organizations, such as general agents and third party administrators, to support our
business; we require them to abide by the requirements of the applicable privacy laws and by our privacy policy.

Information We Collect

We gather information about you in connection with providing our products and services to you and to support our
business operations. This includes information you may provide to us, such as from your insurance application, and
information about you from another source, such as a credit bureau.

Information We May Disclose To Affiliates or Third Parties

Except as noted herein, we do not disclose nonpublic personal information unless authorized by you. We may, without
authorization but only as permitted or required by law, provide nonpublic personal information about you to persons or
organizations both inside and outside of Associated Industries Insurance Company, Inc. in order to fulfill a transaction
requested, service policies, investigate and/or handle claims, detect and/or prevent fraud, participate in insurance support
organizations, or comply with lawful requests from regulatory or law enforcement authorities or a court of law. These
include, for example: affiliated companies, claims adjusters or administrators, insurance agents or brokers, medical
providers, program managers, consumer reporting agencies, governmental agencies, auditors, lienholders, mortgagees,
and assignees.

Information Confidentiality and Security

We restrict access to nonpublic personal information about you to those employees who need to know that information in
order to provide products or services to you. We maintain physical, electronic, and procedural safeguards that comply
with federal regulations to guard your nonpublic personal information.

Access to Your Information

You have the right to know what kind of information we keep in our files about you, to have the reasonable access to it
and receive a copy. Contact us at the address noted below should you have questions about what information we may
have on file. All written requests must include your name, address, telephone number, and a photocopy of a picture ID for
identification purposes. We are dedicated to maintaining accurate customer records and shall strive to correct any
inaccurate information noted in a timely manner.

Security National Insurance Company
Security National Insurance Company
12790 Merit Drive, Suite 200
Dallas, Texas 75251
Attention: Privacy Manager



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Read Your Policy Carefully


This policy is a legal contract between you and us. The information on this page is not the insurance contract and only
the actual policy provisions will control. The policy sets forth in detail the rights and obligations of both you and us. It is
therefore important that you read your policy carefully.

We will provide the insurance described in this policy in return for the premium and compliance with all applicable
provisions of the policy.

                                                            Security National Insurance Company
This policy is signed by the President and Secretary of _________________________________________________
and, if required by State law, this policy shall not be valid unless countersigned on the Declaration page by its
authorized representative.




         President                                           Secretary




ILSIGDECFL 1015
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                                                                                                  IL P 001 01 04

    U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
                ASSETS CONTROL ("OFAC")
           ADVISORY NOTICE TO POLICYHOLDERS
 No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
 policy. You should read your policy and review your Declarations page for complete information on the coverages
 you are provided.
 This Notice provides information concerning possible impact on your insurance coverage due to directives issued
 by OFAC. Please read this Notice carefully.
 The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
 declarations of "national emergency". OFAC has identified and listed numerous:
    ⚫ Foreign agents;
    ⚫ Front organizations;
     ⚫ Terrorists;
     ⚫ Terrorist organizations; and
     ⚫ Narcotics traffickers;
 as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States Treas-
 ury's web site – http//www.treas.gov/ofac.
 In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
 claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
 Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and all
 provisions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be such
 a blocked or frozen contract, no payments nor premium refunds may be made without authorization from OFAC.
 Other limitations on the premiums and payments also apply.




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           POLICYHOLDER NOTICE – SERVICE OF PROCESS

    Service of process for any suit instituted against Security National Insurance Company
    concerning this Policy may be made upon the Superintendent, Commissioner, or Director
    of Insurance or other person specified for that purpose in the statute or his/her successor
    or successors in office as their true and lawful attorney upon whom may be served any
    lawful process in any action, suit, or proceeding instituted by or on behalf of the Insured
    or any beneficiary hereunder and arising out of this Policy.

    Security National Insurance Company has designated:

          Mr. Stephen Ungar, Secretary
          Security National Insurance Company
          59 Maiden Lane, 43rd Floor
          New York, NY 10038


    as the person/organization to whom the Superintendent, Commissioner, or Director of
    Insurance or other specified person is authorized to mail such process or a true copy
    thereof, in compliance with the applicable statutes governing said service of process in
    the state or jurisdiction in which a cause of action under this Policy arises.




    CPS33001 0720                                                                  Page 1 of 1

                                 Security National Insurance Company
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                                                                       Policy Number:
               Security National Insurance Company
               Administered through: AmTrust E & S Insurance        SES1814229 00
               Services, Inc.                                          Named Insured:
               160 Federal Street, 3rd Floor                           Shave Steel LLC
               Boston, MA 02109


                                                   COMMON POLICY DECLARATIONS
Policy Number         SES1814229 00                               Policy Period:         From          5/2/2023                      To            5/2/2024
                                                                                         12:01 a.m. Standard Time at the Named Insured’s Address

Transaction           New Business

Named Insured and Address                                          Broker
 Shave Steel LLC                                                    Bass Underwriters - Winter Garden GBA
 3571 D Road                                                        1005 S. Dillard Street
 Loxahatchee FL 33470                                               Winter Garden FL 34787
                                                                    (954) 316-3167


Business Description                                               Type of Business                                   Audit Period
Welder                                                             Limited Liability Company                          Annual
In return for the payment of the premium, and subject to all the terms of this policy, we agree with you to provide the
insurance as stated in this policy. This policy consists of the following coverage parts for which a premium is indicated. This
premium may be subject to adjustment.
                           COVERAGE PART DESCRIPTION
                           General Liability




                                           TERRORISM CHARGE                                                 $
                                           POLICY PREMIUM                                                   $
                                           DEPOSIT PREMIUM                                                  $
                                           POLICY FEE                                                       $
                                           TOTAL DEPOSIT PREMIUM                                            $


                   Minimum Retained Audit Premium                                               Minimum Retained Premium

 Forms applicable to all Coverage Parts:                       See Forms and Endorsements schedule
 THIS INSURANCE IS ISSUED PURSUANT TO THE FLORIDA SURPLUS LINES LAW. PERSONS INSURED BY SURPLUS
 LINES CARRIERS DO NOT HAVE THE PROTECTION OF THE FLORIDA INSURANCE GUARANTY ACT TO THE EXTENT
 OF ANY RIGHT OF RECOVERY FOR THE OBLIGATION OF AN INSOLVENT UNLICENSED INSURER.




Countersigned this                                                By
                                                                                                    Authorized Representative


Issued Date:          5/23/2023

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           Security National Insurance Company             Policy Number:
           Administered through: AmTrust E & S Insurance
                                                            SES1814229 00
           Services, Inc.
           160 Federal Street, 3rd Floor                   Named Insured:
           Boston, MA 02109                                Shave Steel LLC


                                                       GENERAL LIABILITY
                                                        COVERAGE PART
Policy Number      SES1814229 00                               Policy Period:           From 5/2/2023                            To 5/2/2024
                                                                                        12 01 a.m. Standard Time at the Named Insured’s Address

                                                               Retroactive Date:
Transaction New Business

Named Insured and Address                                      Broker
Shave Steel LLC                                                Bass Underwriters - Winter Garden GBA
3571 D Road                                                    1005 S. Dillard Street
Loxahatchee FL 33470                                           Winter Garden FL 34787
                                                               (954) 316-3167

Business Description                                           Type of Business                                  Audit Period
Welder                                                          Limited Liability Company                        Annual

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE AGREE WITH
YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

        LIMITS OF INSURANCE
                 General Aggregate Limit (Other than Products-Completed Operations)                                        $                  2,000,000
                 Products – Completed Operations Aggregate Limit                                                           $                  2,000,000
                 Each Occurrence Limit                                                                                     $                  1,000,000
                 Personal and Advertising Injury Limit                                                                     $                  1,000,000
                 Medical Expense Limit, any one person                                                                     $                      5,000
                 Damage To Premises Rented To You                                                                          $                    100,000



        AMENDED LIMITS OF LIABILITY
                 Refer to attached schedule, if any.

        LOCATIONS OF ALL PREMISES YOU OWN, RENT OR OCCUPY
                 Refer to attached schedule.

        CLASSIFICATIONS
                 Refer to attached schedule, if any.



                                    TOTAL PREMIUM FOR THIS COVERAGE PART                                 $



Forms and Endorsements Applicable

        See Forms and Endorsements Schedule

 These Declarations together wit h t he common policy conditions, coverage declarations, coverage form(s), and
 form(s) and endorsement s, if any, issued, complete t he above number policy.




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GLM330000 0411                                                                                                                   Page 2 of 6
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      Security National Insurance Company                            Policy Number:
      4455 LBJ Freeway, Suite 700                                    SES1814229 00
      Dallas, Texas 75244                                            Named Insured:
                                                                     Shave Steel LLC


                COMMERCIAL GENERAL LIABILITY EXTENSION OF DECLARATIONS


LOCATION OF PREMISES
Location of All Premises You Own, Rent or Occupy:
1
3571 D Rd
Loxahatchee FL 33470
PREMIUM
                                                                                             Rate                       Advance Premium
   Location   Class Code Description     Exposure Basis         Exposures       Prem. Ops. Prod/Comp Ops.           Prem. Ops.   Prod/Comp Ops.
      1                                  Payroll
              Welding or Cutting




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              Security National Insurance Company                                        Policy Number:
              Administered through: AmTrust E & S Insurance Services, Inc.               SES1814229 00
              160 Federal Street, 3rd Floor                                              Named Insured:
              Boston, MA 02109                                                           Shave Steel LLC



                                           FORMS AND ENDORSEMENTS SCHEDULE
 Coverage       Form           Ed. Date       Description

   CG         AESGL222A          (05/17)    EXCLUSION – DESIGNATED CONSTRUCTION OR CONTRACTOR OPERATIONS
   CG         AESGL225           (04/18)    ABSOLUTE AUTO, AIRCRAFT AND WATERCRAFT EXCLUSION
   CG         AESGL230           (08/20)    NON-COOPERATION WITH PREMIUM AUDIT ENDORSEMENT
   CG         AESGL231           (03/22)    MULTIPLE POLICIES NON-STACKING OF LIMITS ENDORSEMENT
   CG         CG0001             (12/07)    COMMERCIAL GENERAL LIABILITY COVERAGE FORM
   CG         CG0068             (05/09)    RECORDING AND DISTRIBUTION OF MATERIAL OR INFORMATION IN VIOLATION OF LAW
                                            EXCLUSION
   CG         CG0220             (03/12)    FLORIDA CHANGES – CANCELLATION AND NONRENEWAL
   CG         CG2033             (07/04)    ADDITIONAL INSURED – OWNERS, LESSEES OR CONTRACTORS – AUTOMATIC STATUS WHEN
                                            REQUIRED IN CONSTRUCTION AGREEMENT WITH YOU
   CG         CG2037             (07/04)    ADDITIONAL INSURED – OWNERS, LESSEES OR CONTRACTORS – COMPLETED OPERATIONS
   CG         CG2107             (05/14)    EXCLUSION – ACCESS OR DISCLOSURE OF CONFIDENTIAL OR PERSONAL INFORMATION AND
                                            DATA-RELATED LIABILITY
   CG         CG2109             (06/15)    EXCLUSION - UNMANNED AIRCRAFT
   CG         CG2132             (05/09)    COMMUNICABLE DISEASE EXCLUSION
   CG         CG2134             (01/87)    EXCLUSION - DESIGNATED WORK
   CG         CG2136             (03/05)    EXCLUSION - NEW ENTITIES
   CG         CG2147             (12/07)    EMPLOYMENT-RELATED PRACTICES EXCLUSION
   CG         CG2149             (09/99)    TOTAL POLLUTION EXCLUSION ENDORSEMENT
   CG         CG2153             (01/96)    EXCLUSION – DESIGNATED ONGOING OPERATIONS
   CG         CG2154             (01/96)    EXCLUSION – DESIGNATED OPERATIONS COVERED BY A CONSOLIDATED (WRAP-UP) INSURANCE
                                            PROGRAM
   CG         CG2175AES          (01/13)    EXCLUSION OF CERTIFIED ACTS OF TERRORISM AND EXCLUSION OF OTHER ACTS OF
                                            TERRORISM COMMITTED OUTSIDE THE UNITED STATES
   CG         CG2279             (07/98)    EXCLUSION - CONTRACTORS - PROFESSIONAL LIABILITY
   CG         CG2294             (10/01)    EXCLUSION - DAMAGE TO WORK PERFORMED BY SUBCONTRACTORS ON YOUR BEHALF
   CG         CG2404             (05/09)    WAIVER OF TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO US
   CG         IL0003             (09/08)    CALCULATION OF PREMIUM
   CG         IL0017             (11/98)    COMMON POLICY CONDITIONS
   CG         NXGL004            (08/09)    AMENDMENT - COMMON POLICY CONDITIONS




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              Security National Insurance Company                                        Policy Number:
              Administered through: AmTrust E & S Insurance Services, Inc.               SES1814229 00
              160 Federal Street, 3rd Floor                                              Named Insured:
              Boston, MA 02109                                                           Shave Steel LLC



                                           FORMS AND ENDORSEMENTS SCHEDULE
 Coverage       Form           Ed. Date       Description

   CG         NXGL005            (04/20)    POLICYHOLDER'S GUIDE TO REPORTING A CASUALTY CLAIM
   CG         NXGL006            (08/09)    INTERIM PREMIUM AUDIT CONDITION
   CG         NXGL007            (08/09)    MINIMUM RETAINED AUDIT PREMIUM
   CG         NXGL008            (08/09)    MINIMUM RETAINED PREMIUM
   CG         NXGL009            (08/09)    PRIMARY AND NON-CONTRIBUTING INSURANCE (THIRD-PARTY)
   CG         NXGL014            (08/09)    TEMPORARY & VOLUNTEER WORKER EXCLUSION
   CG         NXGL020            (08/09)    EXCLUSION – ELECTROMAGNETIC FIELDS (EMF'S)
   CG         NXGL021            (08/09)    EXCLUSION - PUNITIVE DAMAGES
   CG         NXGL037            (08/09)    DEDUCTIBLE LIABILITY ENDORSEMENT – INCLUDING EXPENSE (PER OCCURRENCE/OFFENSE)
   CG         NXGL053            (01/12)    EXCLUSION – CONTINUOUS, PROGRESSIVE OR REPEATED OFFENSES
   CG         NXGL057            (08/09)    EXCLUSION – ALL RESIDENTIAL CONSTRUCTION WORK
   CG         NXGL066            (08/09)    EXCLUSION — PRIOR WORK COMPLETED, SOLD OR ABANDONED
   CG         NXGL067            (08/09)    EXCLUSION – BLASTING OPERATIONS
   CG         NXGL080            (08/09)    EXCLUSION – RESIDENTIAL CONVERSION
   CG         NXGL089            (08/09)    EXCLUSION – SUBSIDENCE
   CG         NXGL093            (08/09)    AMENDMENT – AGGREGATE LIMITS OF INSURANCE (PER PROJECT)
   CG         NXGL097            (08/09)    DEFINITION OF GROSS RECEIPTS/SALES ENDORSEMENT
   CG         NXGL102            (08/09)    UNDERGROUND UTILITY LOCATION CONDITION
   CG         NXGL122            (08/09)    EXCLUSION – INJURY TO EMPLOYEES, CONTRACTOR, EMPLOYEES OF A CONTRACTOR
   CG         NXGL127            (08/09)    EXCLUSION – CROSS SUITS (INSUREDS)
   CG         NXGL129            (01/10)    TAINTED DRYWALL MATERIAL EXCLUSION
   CG         NXGL147            (05/10)    EXCLUSION – OPEN ROOF
   CG         NXGL148            (05/10)    EXCLUSION – HOT TAR & TORCH
   CG         NXGL165            (09/10)    SPECIAL REQUIREMENTS FOR SUBCONTRACTORS
   CG         NXGL167            (09/18)    STANDARD ADDITIONAL EXCLUSIONS




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              Security National Insurance Company                                        Policy Number:
              Administered through: AmTrust E & S Insurance Services, Inc.               SES1814229 00
              160 Federal Street, 3rd Floor                                              Named Insured:
              Boston, MA 02109                                                           Shave Steel LLC



                                           FORMS AND ENDORSEMENTS SCHEDULE
 Coverage       Form           Ed. Date       Description

   CG         NXGL175            (12/10)    EXCLUSION – WORK HEIGHT LIMITATION
   CG         SESPN              (09/11)    SECURITY NATIONAL INSURANCE COMPANY PRIVACY POLICY




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 POLICY NUMBER: SES1814229 00                                                COMMERCIAL GENERAL LIABILITY
                                                                                         AES GL 222A 0517


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


          EXCLUSION – DESIGNATED CONSTRUCTION OR
                  CONTRACTOR OPERATIONS
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

                                                     SCHEDULE

        Airport work of any type                                Janitorial work for occupancies other than
        Bridge or Elevated Highway Construction                  offices and residential properties
        Caisson or Cofferdam Work                               Playground Equipment or Bleacher Work
        Construction or Project Manager                         Power Line Construction
        Controlled Burn Operations                              Public Street or Road paving or repaving
        Dam or Reservoir Construction                           Railroad Construction
        Dike, Levee or Reservoir Work                           Refinery or Chemical Plant work
        Elevator or Escalator Inspection, Installation,         Retaining walls over 6 feet in height
         Servicing or Repair                                     Residential framing (acceptable in conjunction
        Erosion Control Operations                               with a remodel/addition)
        Fire Suppression Systems – Installation                 Rigging – not ship or boat
         (acceptable only for ansul system installation,         Sound Barrier Construction
         service, repair and/or maintenance)                     Swimming Pool Installation
        Fireproofing of structures                              Traffic Signal or Control Work
        Fire, water and/or mold remediation work                Tunneling
        Foundation Installation (acceptable in                  Underground horizontal boring
         conjunction with a remodel/addition)                    Underpinning – Buildings or Structures
                                                                 Waterproofing of Foundations and Exterior of
                                                                  Buildings performed by you



 Description of excluded operations:

 This insurance does not apply to "bodily injury", "property damage" or “personal and advertising injury” arising out
 of operations shown in the schedule above.

 All other terms and conditions remain unchanged.




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 POLICY NUMBER: SES1814229 00                                              COMMERCIAL GENERAL LIABILITY
                                                                                        AES GL 225 04 18


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                   ABSOLUTE
   AUTO, AIRCRAFT AND WATERCRAFT EXCLUSION
 This endorsement modifies insurance provided under the following:

 COMMERCIAL GENERAL LIABILITY COVERAGE PART

 A. SECTION I – COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
    LIABILITY, 2. Exclusions, paragraph g. is deleted and replaced with the following:

    g. Aircraft, Auto Or Watercraft
      “Bodily injury” or “property damage” arising directly or indirectly out of the ownership,
      maintenance, use or entrustment to others of any aircraft, “auto” or watercraft. Use includes
      operation and “loading or unloading”.

     This exclusion applies even if the claims against any insured allege negligence or other
     wrongdoing in the supervision, hiring, employment, training or monitoring of others by that
     insured, if the “occurrence” which caused the “bodily injury” or “property damage” involved the
     ownership, maintenance, use or entrustment to others of any aircraft, “auto” or watercraft.

 B. The following is deleted under SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS,
    4. Other Insurance, paragraph b. Excess Insurance:

     If the loss arises out of the maintenance or use of aircraft, “autos” or watercraft to the extent not
     subject to Exclusion g. of Section I – Coverage A – Bodily Injury and Property Damage Liability.

            ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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 POLICY NUMBER: SES1814229 00                                                    COMMERCIAL GENERAL LIABILITY
                                                                                              AES GL 230 08 20


       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




               NON-COOPERATION WITH PREMIUM AUDIT
                         ENDORSEMENT

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS, 5. Premium Audit is amended to include the
following:


 5. Premium Audit

   d. If you do not cooperate with us or allow us to examine and audit all of your records that relate to this
       policy, or do not provide audit information as timely and reasonably requested, we may calculate the
       final total premium at a rate of three times the Total Premium Subject to Audit as shown on the
       Declarations, including any applicable endorsement(s).




This endorsement does not change any other provision of the policy.




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 POLICY NUMBER: SES1814229 00



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           MULTIPLE POLICIES OR COVERAGE FORMS –
            NON-STACKING OF LIMITS ENDORSEMENT
 This endorsement modifies insurance provided under the following:

 COMMERCIAL GENERAL LIABILITY COVERAGE PART

 Section IV – Commercial General Liability Conditions is amended to add the following:

    Two Or More Policies Or Coverage Forms Issued By Us
    If this coverage form and any other coverage form or policy issued to you by us or any company affiliated with
    us applies to the same loss, the combined maximum Limit of Insurance under all of the coverage forms or
    policies shall not exceed the highest applicable Limit of Insurance under any one coverage form or policy.

    This condition does not apply to any coverage form or policy issued by us or an affiliated company specifically
    to apply as excess insurance over this coverage form.




 All Other Terms and Conditions of This Policy Remain Unchanged.




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                                                         .
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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 00 01 12 07

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    COMMERCIAL GENERAL LIABILITY COVERAGE FORM
 Various provisions in this policy restrict coverage.            (1) The "bodily injury" or "property damage" is
 Read the entire policy carefully to determine rights,               caused by an "occurrence" that takes place
 duties and what is and is not covered.                              in the "coverage territory";
 Throughout this policy the words "you" and "your"               (2) The "bodily injury" or "property damage"
 refer to the Named Insured shown in the Declarations,               occurs during the policy period; and
 and any other person or organization qualifying as a            (3) Prior to the policy period, no insured listed
 Named Insured under this policy. The words "we",                    under Paragraph 1. of Section II – Who Is
 "us" and "our" refer to the company providing this                  An Insured and no "employee" authorized
 insurance.                                                          by you to give or receive notice of an "oc-
 The word "insured" means any person or organization                 currence" or claim, knew that the "bodily in-
 qualifying as such under Section II – Who Is An In-                 jury" or "property damage" had occurred, in
 sured.                                                              whole or in part. If such a listed insured or
 Other words and phrases that appear in quotation                    authorized "employee" knew, prior to the
 marks have special meaning. Refer to Section V –                    policy period, that the "bodily injury" or
 Definitions.                                                        "property damage" occurred, then any con-
                                                                     tinuation, change or resumption of such
 SECTION I – COVERAGES                                               "bodily injury" or "property damage" during
 COVERAGE A BODILY INJURY AND PROPERTY                               or after the policy period will be deemed to
 DAMAGE LIABILITY                                                    have been known prior to the policy period.
 1. Insuring Agreement                                        c. "Bodily injury" or "property damage" which
                                                                 occurs during the policy period and was not,
    a. We will pay those sums that the insured be-
                                                                 prior to the policy period, known to have oc-
       comes legally obligated to pay as damages
                                                                 curred by any insured listed under Paragraph
       because of "bodily injury" or "property damage"
                                                                 1. of Section II – Who Is An Insured or any
       to which this insurance applies. We will have
                                                                 "employee" authorized by you to give or re-
       the right and duty to defend the insured against
                                                                 ceive notice of an "occurrence" or claim, in-
       any "suit" seeking those damages. However,
                                                                 cludes any continuation, change or resumption
       we will have no duty to defend the insured
                                                                 of that "bodily injury" or "property damage" af-
       against any "suit" seeking damages for "bodily
                                                                 ter the end of the policy period.
       injury" or "property damage" to which this in-
       surance does not apply. We may, at our discre-         d. "Bodily injury" or "property damage" will be
       tion, investigate any "occurrence" and settle             deemed to have been known to have occurred
       any claim or "suit" that may result. But:                 at the earliest time when any insured listed un-
                                                                 der Paragraph 1. of Section II – Who Is An In-
      (1) The amount we will pay for damages is
                                                                 sured or any "employee" authorized by you to
          limited as described in Section III – Limits
                                                                 give or receive notice of an "occurrence" or
          Of Insurance; and
                                                                 claim:
      (2) Our right and duty to defend ends when we
                                                                 (1) Reports all, or any part, of the "bodily injury"
          have used up the applicable limit of insur-
                                                                     or "property damage" to us or any other in-
          ance in the payment of judgments or set-
                                                                     surer;
          tlements under Coverages A or B or medi-
          cal expenses under Coverage C.                         (2) Receives a written or verbal demand or
                                                                     claim for damages because of the "bodily
       No other obligation or liability to pay sums or
                                                                     injury" or "property damage"; or
       perform acts or services is covered unless ex-
       plicitly provided for under Supplementary Pay-            (3) Becomes aware by any other means that
       ments – Coverages A and B.                                    "bodily injury" or "property damage" has oc-
                                                                     curred or has begun to occur.
    b. This insurance applies to "bodily injury" and
       "property damage" only if:                             e. Damages because of "bodily injury" include
                                                                 damages claimed by any person or organiza-
                                                                 tion for care, loss of services or death resulting
                                                                 at any time from the "bodily injury".



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 2. Exclusions                                                  e. Employer's Liability
    This insurance does not apply to:                               "Bodily injury" to:
    a. Expected Or Intended Injury                                 (1) An "employee" of the insured arising out of
       "Bodily injury" or "property damage" expected                   and in the course of:
       or intended from the standpoint of the insured.                (a) Employment by the insured; or
       This exclusion does not apply to "bodily injury"               (b) Performing duties related to the conduct
       resulting from the use of reasonable force to                      of the insured's business; or
       protect persons or property.
                                                                   (2) The spouse, child, parent, brother or sister
    b. Contractual Liability                                           of that "employee" as a consequence of
       "Bodily injury" or "property damage" for which                  Paragraph (1) above.
       the insured is obligated to pay damages by                   This exclusion applies whether the insured
       reason of the assumption of liability in a con-              may be liable as an employer or in any other
       tract or agreement. This exclusion does not                  capacity and to any obligation to share damag-
       apply to liability for damages:                              es with or repay someone else who must pay
      (1) That the insured would have in the absence                damages because of the injury.
          of the contract or agreement; or                          This exclusion does not apply to liability as-
      (2) Assumed in a contract or agreement that is                sumed by the insured under an "insured con-
          an "insured contract", provided the "bodily               tract".
          injury" or "property damage" occurs subse-             f. Pollution
          quent to the execution of the contract or
          agreement. Solely for the purposes of liabil-            (1) "Bodily injury" or "property damage" arising
          ity assumed in an "insured contract", rea-                   out of the actual, alleged or threatened dis-
          sonable attorney fees and necessary litiga-                  charge, dispersal, seepage, migration, re-
          tion expenses incurred by or for a party                     lease or escape of "pollutants":
          other than an insured are deemed to be                      (a) At or from any premises, site or location
          damages because of "bodily injury" or                           which is or was at any time owned or
          "property damage", provided:                                    occupied by, or rented or loaned to, any
         (a) Liability to such party for, or for the cost                 insured. However, this subparagraph
             of, that party's defense has also been                       does not apply to:
             assumed in the same "insured contract";                         (i) "Bodily injury" if sustained within a
             and                                                                 building and caused by smoke,
         (b) Such attorney fees and litigation ex-                               fumes, vapor or soot produced by or
             penses are for defense of that party                                originating from equipment that is
             against a civil or alternative dispute res-                         used to heat, cool or dehumidify the
             olution proceeding in which damages to                              building, or equipment that is used to
             which this insurance applies are alleged.                           heat water for personal use, by the
                                                                                 building's occupants or their guests;
    c. Liquor Liability
                                                                            (ii) "Bodily injury" or "property damage"
       "Bodily injury" or "property damage" for which                            for which you may be held liable, if
       any insured may be held liable by reason of:                              you are a contractor and the owner
      (1) Causing or contributing to the intoxication of                         or lessee of such premises, site or
          any person;                                                            location has been added to your pol-
      (2) The furnishing of alcoholic beverages to a                             icy as an additional insured with re-
          person under the legal drinking age or un-                             spect to your ongoing operations
          der the influence of alcohol; or                                       performed for that additional insured
                                                                                 at that premises, site or location and
      (3) Any statute, ordinance or regulation relating                          such premises, site or location is not
          to the sale, gift, distribution or use of alco-                        and never was owned or occupied
          holic beverages.                                                       by, or rented or loaned to, any in-
       This exclusion applies only if you are in the                             sured, other than that additional in-
       business of manufacturing, distributing, selling,                         sured; or
       serving or furnishing alcoholic beverages.                           (iii) "Bodily injury" or "property damage"
    d. Workers' Compensation And Similar Laws                                     arising out of heat, smoke or fumes
                                                                                  from a "hostile fire";
       Any obligation of the insured under a workers'
       compensation, disability benefits or unem-
       ployment compensation law or any similar law.




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         (b) At or from any premises, site or location               (e) At or from any premises, site or location
             which is or was at any time used by or                      on which any insured or any contractors
             for any insured or others for the han-                      or subcontractors working directly or in-
             dling, storage, disposal, processing or                     directly on any insured's behalf are per-
             treatment of waste;                                         forming operations if the operations are
         (c) Which are or were at any time trans-                        to test for, monitor, clean up, remove,
             ported, handled, stored, treated, dis-                      contain, treat, detoxify or neutralize, or
             posed of, or processed as waste by or                       in any way respond to, or assess the ef-
             for:                                                        fects of, "pollutants".
             (i) Any insured; or                                  (2) Any loss, cost or expense arising out of
                                                                      any:
            (ii) Any person or organization for whom
                 you may be legally responsible; or                  (a) Request, demand, order or statutory or
                                                                         regulatory requirement that any insured
         (d) At or from any premises, site or location                   or others test for, monitor, clean up, re-
             on which any insured or any contractors                     move, contain, treat, detoxify or neutral-
             or subcontractors working directly or in-                   ize, or in any way respond to, or assess
             directly on any insured's behalf are per-                   the effects of, "pollutants"; or
             forming operations if the "pollutants" are
             brought on or to the premises, site or lo-              (b) Claim or "suit" by or on behalf of a gov-
             cation in connection with such opera-                       ernmental authority for damages be-
             tions by such insured, contractor or sub-                   cause of testing for, monitoring, cleaning
             contractor. However, this subparagraph                      up, removing, containing, treating, de-
             does not apply to:                                          toxifying or neutralizing, or in any way
                                                                         responding to, or assessing the effects
             (i) "Bodily injury" or "property damage"                    of, "pollutants".
                 arising out of the escape of fuels,
                 lubricants or other operating fluids                 However, this paragraph does not apply to
                 which are needed to perform the                      liability for damages because of "property
                 normal electrical, hydraulic or me-                  damage" that the insured would have in the
                 chanical functions necessary for the                 absence of such request, demand, order or
                 operation of "mobile equipment" or                   statutory or regulatory requirement, or such
                 its parts, if such fuels, lubricants or              claim or "suit" by or on behalf of a govern-
                 other operating fluids escape from a                 mental authority.
                 vehicle part designed to hold, store          g. Aircraft, Auto Or Watercraft
                 or receive them. This exception does              "Bodily injury" or "property damage" arising out
                 not apply if the "bodily injury" or               of the ownership, maintenance, use or en-
                 "property damage" arises out of the               trustment to others of any aircraft, "auto" or wa-
                 intentional discharge, dispersal or re-           tercraft owned or operated by or rented or
                 lease of the fuels, lubricants or other           loaned to any insured. Use includes operation
                 operating fluids, or if such fuels, lub-          and "loading or unloading".
                 ricants or other operating fluids are
                 brought on or to the premises, site or            This exclusion applies even if the claims
                 location with the intent that they be             against any insured allege negligence or other
                 discharged, dispersed or released as              wrongdoing in the supervision, hiring, employ-
                 part of the operations being per-                 ment, training or monitoring of others by that
                 formed by such insured, contractor                insured, if the "occurrence" which caused the
                 or subcontractor;                                 "bodily injury" or "property damage" involved
                                                                   the ownership, maintenance, use or entrust-
            (ii) "Bodily injury" or "property damage"              ment to others of any aircraft, "auto" or water-
                 sustained within a building and                   craft that is owned or operated by or rented or
                 caused by the release of gases,                   loaned to any insured.
                 fumes or vapors from materials
                 brought into that building in connec-             This exclusion does not apply to:
                 tion with operations being performed             (1) A watercraft while ashore on premises you
                 by you or on your behalf by a con-                   own or rent;
                 tractor or subcontractor; or                     (2) A watercraft you do not own that is:
           (iii) "Bodily injury" or "property damage"                (a) Less than 26 feet long; and
                 arising out of heat, smoke or fumes
                 from a "hostile fire".                              (b) Not being used to carry persons or
                                                                         property for a charge;




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      (3) Parking an "auto" on, or on the ways next               (2) Premises you sell, give away or abandon, if
          to, premises you own or rent, provided the                  the "property damage" arises out of any
          "auto" is not owned by or rented or loaned                  part of those premises;
          to you or the insured;                                  (3) Property loaned to you;
      (4) Liability assumed under any "insured con-               (4) Personal property in the care, custody or
          tract" for the ownership, maintenance or                    control of the insured;
          use of aircraft or watercraft; or
                                                                  (5) That particular part of real property on
      (5) "Bodily injury" or "property damage" arising                which you or any contractors or subcontrac-
          out of:                                                     tors working directly or indirectly on your
         (a) The operation of machinery or equip-                     behalf are performing operations, if the
             ment that is attached to, or part of, a                  "property damage" arises out of those op-
             land vehicle that would qualify under the                erations; or
             definition of "mobile equipment" if it were          (6) That particular part of any property that
             not subject to a compulsory or financial                 must be restored, repaired or replaced be-
             responsibility law or other motor vehicle                cause "your work" was incorrectly per-
             insurance law in the state where it is li-               formed on it.
             censed or principally garaged; or
                                                                   Paragraphs (1), (3) and (4) of this exclusion do
         (b) the operation of any of the machinery or              not apply to "property damage" (other than
             equipment listed in Paragraph f.(2) or                damage by fire) to premises, including the con-
             f.(3) of the definition of "mobile equip-             tents of such premises, rented to you for a pe-
             ment".                                                riod of 7 or fewer consecutive days. A separate
    h. Mobile Equipment                                            limit of insurance applies to Damage To Prem-
       "Bodily injury" or "property damage" arising out            ises Rented To You as described in Section III
       of:                                                         – Limits Of Insurance.
      (1) The transportation of "mobile equipment" by              Paragraph (2) of this exclusion does not apply
          an "auto" owned or operated by or rented or              if the premises are "your work" and were never
          loaned to any insured; or                                occupied, rented or held for rental by you.
      (2) The use of "mobile equipment" in, or while               Paragraphs (3), (4), (5) and (6) of this exclu-
          in practice for, or while being prepared for,            sion do not apply to liability assumed under a
          any prearranged racing, speed, demolition,               sidetrack agreement.
          or stunting activity.                                    Paragraph (6) of this exclusion does not apply
    i. War                                                         to "property damage" included in the "products-
                                                                   completed operations hazard".
       "Bodily injury" or "property damage", however
       caused, arising, directly or indirectly, out of:        k. Damage To Your Product
      (1) War, including undeclared or civil war;                  "Property damage" to "your product" arising out
                                                                   of it or any part of it.
      (2) Warlike action by a military force, including
          action in hindering or defending against an           l. Damage To Your Work
          actual or expected attack, by any govern-                "Property damage" to "your work" arising out of
          ment, sovereign or other authority using                 it or any part of it and included in the "products-
          military personnel or other agents; or                   completed operations hazard".
      (3) Insurrection, rebellion, revolution, usurped             This exclusion does not apply if the damaged
          power, or action taken by governmental au-               work or the work out of which the damage aris-
          thority in hindering or defending against any            es was performed on your behalf by a subcon-
          of these.                                                tractor.
    j. Damage To Property                                      m. Damage To Impaired Property Or Property
       "Property damage" to:                                      Not Physically Injured
      (1) Property you own, rent, or occupy, including             "Property damage" to "impaired property" or
          any costs or expenses incurred by you, or                property that has not been physically injured,
          any other person, organization or entity, for            arising out of:
          repair, replacement, enhancement, restora-              (1) A defect, deficiency, inadequacy or danger-
          tion or maintenance of such property for                    ous condition in "your product" or "your
          any reason, including prevention of injury to               work"; or
          a person or damage to another's property;




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      (2) A delay or failure by you or anyone acting            Exclusions c. through n. do not apply to damage
          on your behalf to perform a contract or               by fire to premises while rented to you or tempo-
          agreement in accordance with its terms.               rarily occupied by you with permission of the own-
       This exclusion does not apply to the loss of use         er. A separate limit of insurance applies to this
       of other property arising out of sudden and ac-          coverage as described in Section III – Limits Of
       cidental physical injury to "your product" or            Insurance.
       "your work" after it has been put to its intended     COVERAGE B PERSONAL AND ADVERTISING
       use.                                                  INJURY LIABILITY
    n. Recall Of Products, Work Or Impaired                  1. Insuring Agreement
       Property                                                 a. We will pay those sums that the insured be-
       Damages claimed for any loss, cost or ex-                   comes legally obligated to pay as damages
       pense incurred by you or others for the loss of             because of "personal and advertising injury" to
       use, withdrawal, recall, inspection, repair, re-            which this insurance applies. We will have the
       placement, adjustment, removal or disposal of:              right and duty to defend the insured against
      (1) "Your product";                                          any "suit" seeking those damages. However,
                                                                   we will have no duty to defend the insured
      (2) "Your work"; or                                          against any "suit" seeking damages for "per-
      (3) "Impaired property";                                     sonal and advertising injury" to which this in-
                                                                   surance does not apply. We may, at our discre-
       if such product, work, or property is withdrawn
                                                                   tion, investigate any offense and settle any
       or recalled from the market or from use by any
                                                                   claim or "suit" that may result. But:
       person or organization because of a known or
       suspected defect, deficiency, inadequacy or                 (1) The amount we will pay for damages is
       dangerous condition in it.                                      limited as described in Section III – Limits
                                                                       Of Insurance; and
    o. Personal And Advertising Injury
                                                                   (2) Our right and duty to defend end when we
       "Bodily injury" arising out of "personal and ad-
                                                                       have used up the applicable limit of insur-
       vertising injury".
                                                                       ance in the payment of judgments or set-
    p. Electronic Data                                                 tlements under Coverages A or B or medi-
       Damages arising out of the loss of, loss of use                 cal expenses under Coverage C.
       of, damage to, corruption of, inability to access,           No other obligation or liability to pay sums or
       or inability to manipulate electronic data.                  perform acts or services is covered unless ex-
       As used in this exclusion, electronic data                   plicitly provided for under Supplementary Pay-
       means information, facts or programs stored as               ments – Coverages A and B.
       or on, created or used on, or transmitted to or          b. This insurance applies to "personal and adver-
       from computer software, including systems and               tising injury" caused by an offense arising out
       applications software, hard or floppy disks, CD-            of your business but only if the offense was
       ROMS, tapes, drives, cells, data processing                 committed in the "coverage territory" during the
       devices or any other media which are used                   policy period.
       with electronically controlled equipment.
                                                             2. Exclusions
    q. Distribution Of Material In Violation Of
                                                                This insurance does not apply to:
       Statutes
                                                                a. Knowing Violation Of Rights Of Another
       "Bodily injury" or "property damage" arising di-
       rectly or indirectly out of any action or omission           "Personal and advertising injury" caused by or
       that violates or is alleged to violate:                      at the direction of the insured with the
                                                                    knowledge that the act would violate the rights
      (1) The Telephone Consumer Protection Act
                                                                    of another and would inflict "personal and ad-
          (TCPA), including any amendment of or
                                                                    vertising injury".
          addition to such law; or
                                                                b. Material Published With Knowledge Of
      (2) The CAN-SPAM Act of 2003, including any
                                                                   Falsity
          amendment of or addition to such law; or
                                                                    "Personal and advertising injury" arising out of
      (3) Any statute, ordinance or regulation, other
                                                                    oral or written publication of material, if done by
          than the TCPA or CAN-SPAM Act of 2003,
                                                                    or at the direction of the insured with
          that prohibits or limits the sending, transmit-
                                                                    knowledge of its falsity.
          ting, communicating or distribution of mate-
          rial or information.




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    c. Material Published Prior To Policy Period                    However, this exclusion does not apply to Par-
       "Personal and advertising injury" arising out of             agraphs 14.a., b. and c. of "personal and ad-
       oral or written publication of material whose                vertising injury" under the Definitions Section.
       first publication took place before the beginning            For the purposes of this exclusion, the placing
       of the policy period.                                        of frames, borders or links, or advertising, for
    d. Criminal Acts                                                you or others anywhere on the Internet, is not
                                                                    by itself, considered the business of advertis-
       "Personal and advertising injury" arising out of             ing, broadcasting, publishing or telecasting.
       a criminal act committed by or at the direction
       of the insured.                                          k. Electronic Chatrooms Or Bulletin Boards
    e. Contractual Liability                                        "Personal and advertising injury" arising out of
                                                                    an electronic chatroom or bulletin board the in-
       "Personal and advertising injury" for which the              sured hosts, owns, or over which the insured
       insured has assumed liability in a contract or               exercises control.
       agreement. This exclusion does not apply to li-
       ability for damages that the insured would have           l. Unauthorized Use Of Another's Name Or
       in the absence of the contract or agreement.                 Product
    f. Breach Of Contract                                           "Personal and advertising injury" arising out of
                                                                    the unauthorized use of another's name or
       "Personal and advertising injury" arising out of             product in your e-mail address, domain name
       a breach of contract, except an implied con-                 or metatag, or any other similar tactics to mis-
       tract to use another's advertising idea in your              lead another's potential customers.
       "advertisement".
                                                                m. Pollution
    g. Quality Or Performance Of Goods – Failure
       To Conform To Statements                                     "Personal and advertising injury" arising out of
                                                                    the actual, alleged or threatened discharge,
       "Personal and advertising injury" arising out of             dispersal, seepage, migration, release or es-
       the failure of goods, products or services to                cape of "pollutants" at any time.
       conform with any statement of quality or per-
       formance made in your "advertisement".                   n. Pollution-Related
    h. Wrong Description Of Prices                                  Any loss, cost or expense arising out of any:
       "Personal and advertising injury" arising out of            (1) Request, demand, order or statutory or
       the wrong description of the price of goods,                    regulatory requirement that any insured or
       products or services stated in your "advertise-                 others test for, monitor, clean up, remove,
       ment".                                                          contain, treat, detoxify or neutralize, or in
                                                                       any way respond to, or assess the effects
    i. Infringement Of Copyright, Patent,                              of, "pollutants"; or
       Trademark Or Trade Secret
                                                                   (2) Claim or suit by or on behalf of a govern-
       "Personal and advertising injury" arising out of                mental authority for damages because of
       the infringement of copyright, patent, trade-                   testing for, monitoring, cleaning up, remov-
       mark, trade secret or other intellectual property               ing, containing, treating, detoxifying or neu-
       rights. Under this exclusion, such other intellec-              tralizing, or in any way responding to, or
       tual property rights do not include the use of                  assessing the effects of, "pollutants".
       another's advertising idea in your "advertise-
       ment".                                                   o. War
       However, this exclusion does not apply to in-                "Personal and advertising injury", however
       fringement, in your "advertisement", of copy-                caused, arising, directly or indirectly, out of:
       right, trade dress or slogan.                               (1) War, including undeclared or civil war;
    j. Insureds In Media And Internet Type                         (2) Warlike action by a military force, including
       Businesses                                                      action in hindering or defending against an
       "Personal and advertising injury" committed by                  actual or expected attack, by any govern-
       an insured whose business is:                                   ment, sovereign or other authority using
                                                                       military personnel or other agents; or
      (1) Advertising, broadcasting, publishing or
          telecasting;                                             (3) Insurrection, rebellion, revolution, usurped
                                                                       power, or action taken by governmental au-
      (2) Designing or determining content of web-                     thority in hindering or defending against any
          sites for others; or                                         of these.
      (3) An Internet search, access, content or
          service provider.




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    p. Distribution Of Material In Violation Of                 c. Injury On Normally Occupied Premises
       Statutes                                                     To a person injured on that part of premises
       "Personal and advertising injury" arising direct-            you own or rent that the person normally occu-
       ly or indirectly out of any action or omission               pies.
       that violates or is alleged to violate:                  d. Workers Compensation And Similar Laws
      (1) The Telephone Consumer Protection Act                     To a person, whether or not an "employee" of
          (TCPA), including any amendment of or                     any insured, if benefits for the "bodily injury"
          addition to such law; or                                  are payable or must be provided under a work-
      (2) The CAN-SPAM Act of 2003, including any                   ers' compensation or disability benefits law or a
          amendment of or addition to such law; or                  similar law.
      (3) Any statute, ordinance or regulation, other           e. Athletics Activities
          than the TCPA or CAN-SPAM Act of 2003,                    To a person injured while practicing, instructing
          that prohibits or limits the sending, transmit-           or participating in any physical exercises or
          ting, communicating or distribution of mate-              games, sports, or athletic contests.
          rial or information.
                                                                 f. Products-Completed Operations Hazard
 COVERAGE C MEDICAL PAYMENTS
                                                                    Included within the "products-completed opera-
 1. Insuring Agreement                                              tions hazard".
    a. We will pay medical expenses as described                g. Coverage A Exclusions
       below for "bodily injury" caused by an accident:
                                                                    Excluded under Coverage A.
      (1) On premises you own or rent;
                                                             SUPPLEMENTARY PAYMENTS – COVERAGES A
      (2) On ways next to premises you own or rent;          AND B
          or
                                                             1. We will pay, with respect to any claim we investi-
      (3) Because of your operations;                           gate or settle, or any "suit" against an insured we
       provided that:                                           defend:
         (a) The accident takes place in the "cover-            a. All expenses we incur.
             age territory" and during the policy peri-         b. Up to $250 for cost of bail bonds required
             od;                                                   because of accidents or traffic law violations
         (b) The expenses are incurred and reported                arising out of the use of any vehicle to which
             to us within one year of the date of the              the Bodily Injury Liability Coverage applies. We
             accident; and                                         do not have to furnish these bonds.
         (c) The injured person submits to examina-             c. The cost of bonds to release attachments, but
             tion, at our expense, by physicians of                only for bond amounts within the applicable
             our choice as often as we reasonably                  limit of insurance. We do not have to furnish
             require.                                              these bonds.
   b. We will make these payments regardless of                 d. All reasonable expenses incurred by the in-
      fault. These payments will not exceed the ap-                sured at our request to assist us in the investi-
      plicable limit of insurance. We will pay reason-             gation or defense of the claim or "suit", includ-
      able expenses for:                                           ing actual loss of earnings up to $250 a day
      (1) First aid administered at the time of an                 because of time off from work.
          accident;                                             e. All court costs taxed against the insured in the
      (2) Necessary medical, surgical, x-ray and                   "suit". However, these payments do not include
          dental services, including prosthetic devic-             attorneys' fees or attorneys' expenses taxed
          es; and                                                  against the insured.
      (3) Necessary ambulance, hospital, profes-                 f. Prejudgment interest awarded against the
          sional nursing and funeral services.                      insured on that part of the judgment we pay. If
                                                                    we make an offer to pay the applicable limit of
 2. Exclusions                                                      insurance, we will not pay any prejudgment in-
   We will not pay expenses for "bodily injury":                    terest based on that period of time after the of-
                                                                    fer.
    a. Any Insured
       To any insured, except "volunteer workers".              g. All interest on the full amount of any judgment
                                                                   that accrues after entry of the judgment and
   b. Hired Person                                                 before we have paid, offered to pay, or depos-
       To a person hired to do work for or on behalf of            ited in court the part of the judgment that is
       any insured or a tenant of any insured.                     within the applicable limit of insurance.



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    These payments will not reduce the limits of insur-          So long as the above conditions are met, attor-
    ance.                                                        neys' fees incurred by us in the defense of that in-
 2. If we defend an insured against a "suit" and an              demnitee, necessary litigation expenses incurred
    indemnitee of the insured is also named as a party           by us and necessary litigation expenses incurred
    to the "suit", we will defend that indemnitee if all of      by the indemnitee at our request will be paid as
    the following conditions are met:                            Supplementary Payments. Notwithstanding the
                                                                 provisions of Paragraph 2.b.(2) of Section I –
    a. The "suit" against the indemnitee seeks dam-              Coverage A – Bodily Injury And Property Damage
       ages for which the insured has assumed the li-            Liability, such payments will not be deemed to be
       ability of the indemnitee in a contract or                damages for "bodily injury" and "property damage"
       agreement that is an "insured contract";                  and will not reduce the limits of insurance.
    b. This insurance applies to such liability as-              Our obligation to defend an insured's indemnitee
       sumed by the insured;                                     and to pay for attorneys' fees and necessary litiga-
    c. The obligation to defend, or the cost of the              tion expenses as Supplementary Payments ends
       defense of, that indemnitee, has also been as-            when we have used up the applicable limit of in-
       sumed by the insured in the same "insured                 surance in the payment of judgments or settle-
       contract";                                                ments or the conditions set forth above, or the
                                                                 terms of the agreement described in Paragraph f.
    d. The allegations in the "suit" and the information
                                                                 above, are no longer met.
       we know about the "occurrence" are such that
       no conflict appears to exist between the inter-        SECTION II – WHO IS AN INSURED
       ests of the insured and the interests of the in-       1. If you are designated in the Declarations as:
       demnitee;
                                                                 a. An individual, you and your spouse are in-
    e. The indemnitee and the insured ask us to                     sureds, but only with respect to the conduct of
       conduct and control the defense of that indem-               a business of which you are the sole owner.
       nitee against such "suit" and agree that we can
       assign the same counsel to defend the insured             b. A partnership or joint venture, you are an in-
       and the indemnitee; and                                      sured. Your members, your partners, and their
                                                                    spouses are also insureds, but only with re-
     f. The indemnitee:                                             spect to the conduct of your business.
       (1) Agrees in writing to:                                 c. A limited liability company, you are an insured.
          (a) Cooperate with us in the investigation,               Your members are also insureds, but only with
              settlement or defense of the "suit";                  respect to the conduct of your business. Your
                                                                    managers are insureds, but only with respect
          (b) Immediately send us copies of any
                                                                    to their duties as your managers.
              demands, notices, summonses or legal
              papers received in connection with the             d. An organization other than a partnership, joint
              "suit";                                               venture or limited liability company, you are an
                                                                    insured. Your "executive officers" and directors
          (c) Notify any other insurer whose coverage
                                                                    are insureds, but only with respect to their du-
              is available to the indemnitee; and
                                                                    ties as your officers or directors. Your stock-
          (d) Cooperate with us with respect to coor-               holders are also insureds, but only with respect
              dinating other applicable insurance                   to their liability as stockholders.
              available to the indemnitee; and
                                                                 e. A trust, you are an insured. Your trustees are
       (2) Provides us with written authorization to:               also insureds, but only with respect to their du-
          (a) Obtain records and other information                  ties as trustees.
              related to the "suit"; and                      2. Each of the following is also an insured:
          (b) Conduct and control the defense of the             a. Your "volunteer workers" only while performing
              indemnitee in such "suit".                            duties related to the conduct of your business,
                                                                    or your "employees", other than either your
                                                                    "executive officers" (if you are an organization
                                                                    other than a partnership, joint venture or limited
                                                                    liability company) or your managers (if you are
                                                                    a limited liability company), but only for acts
                                                                    within the scope of their employment by you or
                                                                    while performing duties related to the conduct
                                                                    of your business. However, none of these "em-
                                                                    ployees" or "volunteer workers" are insureds
                                                                    for:




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       (1) "Bodily injury" or "personal and advertising          a. Coverage under this provision is afforded only
           injury":                                                 until the 90th day after you acquire or form the
          (a) To you, to your partners or members (if               organization or the end of the policy period,
              you are a partnership or joint venture),              whichever is earlier;
              to your members (if you are a limited li-          b. Coverage A does not apply to "bodily injury" or
              ability company), to a co-"employee"                  "property damage" that occurred before you
              while in the course of his or her em-                 acquired or formed the organization; and
              ployment or performing duties related to           c. Coverage B does not apply to "personal and
              the conduct of your business, or to your              advertising injury" arising out of an offense
              other "volunteer workers" while perform-              committed before you acquired or formed the
              ing duties related to the conduct of your             organization.
              business;
                                                              No person or organization is an insured with respect
          (b) To the spouse, child, parent, brother or        to the conduct of any current or past partnership, joint
              sister of that co-"employee" or "volun-         venture or limited liability company that is not shown
              teer worker" as a consequence of Para-          as a Named Insured in the Declarations.
              graph (1)(a) above;
                                                              SECTION III – LIMITS OF INSURANCE
          (c) For which there is any obligation to
              share damages with or repay someone             1. The Limits of Insurance shown in the Declarations
              else who must pay damages because of               and the rules below fix the most we will pay re-
              the injury described in Paragraphs (1)(a)          gardless of the number of:
              or (b) above; or                                   a. Insureds;
          (d) Arising out of his or her providing or             b. Claims made or "suits" brought; or
              failing to provide professional health             c. Persons or organizations making claims or
              care services.                                        bringing "suits".
       (2) "Property damage" to property:                     2. The General Aggregate Limit is the most we will
          (a) Owned, occupied or used by,                        pay for the sum of:
          (b) Rented to, in the care, custody or con-            a. Medical expenses under Coverage C;
              trol of, or over which physical control is         b. Damages under Coverage A, except damages
              being exercised for any purpose by                    because of "bodily injury" or "property damage"
           you, any of your "employees", "volunteer                 included in the "products-completed operations
           workers", any partner or member (if you are              hazard"; and
           a partnership or joint venture), or any mem-          c. Damages under Coverage B.
           ber (if you are a limited liability company).
                                                              3. The Products-Completed Operations Aggregate
    b. Any person (other than your "employee" or                 Limit is the most we will pay under Coverage A for
       "volunteer worker"), or any organization while            damages because of "bodily injury" and "property
       acting as your real estate manager.                       damage" included in the "products-completed op-
    c. Any person or organization having proper                  erations hazard".
       temporary custody of your property if you die,         4. Subject to Paragraph 2. above, the Personal and
       but only:                                                 Advertising Injury Limit is the most we will pay un-
       (1) With respect to liability arising out of the          der Coverage B for the sum of all damages be-
           maintenance or use of that property; and              cause of all "personal and advertising injury" sus-
       (2) Until your legal representative has been              tained by any one person or organization.
           appointed.                                         5. Subject to Paragraph 2. or 3. above, whichever
    d. Your legal representative if you die, but only            applies, the Each Occurrence Limit is the most we
       with respect to duties as such. That repre-               will pay for the sum of:
       sentative will have all your rights and duties            a. Damages under Coverage A; and
       under this Coverage Part.                                 b. Medical expenses under Coverage C
 3. Any organization you newly acquire or form, other            because of all "bodily injury" and "property dam-
    than a partnership, joint venture or limited liability       age" arising out of any one "occurrence".
    company, and over which you maintain ownership
    or majority interest, will qualify as a Named In-
    sured if there is no other similar insurance availa-
    ble to that organization. However:




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 6. Subject to Paragraph 5. above, the Damage To                     (3) Cooperate with us in the investigation or
    Premises Rented To You Limit is the most we will                     settlement of the claim or defense against
    pay under Coverage A for damages because of                          the "suit"; and
    "property damage" to any one premises, while                     (4) Assist us, upon our request, in the en-
    rented to you, or in the case of damage by fire,                     forcement of any right against any person
    while rented to you or temporarily occupied by you                   or organization which may be liable to the
    with permission of the owner.                                        insured because of injury or damage to
 7. Subject to Paragraph 5. above, the Medical Ex-                       which this insurance may also apply.
    pense Limit is the most we will pay under Cover-              d. No insured will, except at that insured's own
    age C for all medical expenses because of "bodily                cost, voluntarily make a payment, assume any
    injury" sustained by any one person.                             obligation, or incur any expense, other than for
 The Limits of Insurance of this Coverage Part apply                 first aid, without our consent.
 separately to each consecutive annual period and to           3. Legal Action Against Us
 any remaining period of less than 12 months, starting
 with the beginning of the policy period shown in the             No person or organization has a right under this
 Declarations, unless the policy period is extended               Coverage Part:
 after issuance for an additional period of less than 12          a. To join us as a party or otherwise bring us into
 months. In that case, the additional period will be                 a "suit" asking for damages from an insured; or
 deemed part of the last preceding period for purposes            b. To sue us on this Coverage Part unless all of
 of determining the Limits of Insurance.                             its terms have been fully complied with.
 SECTION IV – COMMERCIAL GENERAL LIABILITY                        A person or organization may sue us to recover on
 CONDITIONS                                                       an agreed settlement or on a final judgment
 1. Bankruptcy                                                    against an insured; but we will not be liable for
    Bankruptcy or insolvency of the insured or of the             damages that are not payable under the terms of
    insured's estate will not relieve us of our obliga-           this Coverage Part or that are in excess of the ap-
    tions under this Coverage Part.                               plicable limit of insurance. An agreed settlement
                                                                  means a settlement and release of liability signed
 2. Duties In The Event Of Occurrence, Offense,                   by us, the insured and the claimant or the claim-
    Claim Or Suit                                                 ant's legal representative.
    a. You must see to it that we are notified as soon         4. Other Insurance
       as practicable of an "occurrence" or an offense
       which may result in a claim. To the extent pos-            If other valid and collectible insurance is available
       sible, notice should include:                              to the insured for a loss we cover under Coverag-
                                                                  es A or B of this Coverage Part, our obligations
       (1) How, when and where the "occurrence" or                are limited as follows:
           offense took place;
                                                                  a. Primary Insurance
       (2) The names and addresses of any injured
           persons and witnesses; and                                 This insurance is primary except when Para-
                                                                      graph b. below applies. If this insurance is pri-
       (3) The nature and location of any injury or                   mary, our obligations are not affected unless
           damage arising out of the "occurrence" or                  any of the other insurance is also primary.
           offense.                                                   Then, we will share with all that other insur-
    b. If a claim is made or "suit" is brought against                ance by the method described in Paragraph c.
       any insured, you must:                                         below.
       (1) Immediately record the specifics of the                b. Excess Insurance
           claim or "suit" and the date received; and                (1) This insurance is excess over:
       (2) Notify us as soon as practicable.                            (a) Any of the other insurance, whether
       You must see to it that we receive written no-                       primary, excess, contingent or on any
       tice of the claim or "suit" as soon as practica-                     other basis:
       ble.                                                                   (i) That is Fire, Extended Coverage,
    c. You and any other involved insured must:                                   Builder's Risk, Installation Risk or
       (1) Immediately send us copies of any de-                                  similar coverage for "your work";
           mands, notices, summonses or legal pa-                             (ii) That is Fire insurance for premises
           pers received in connection with the claim                              rented to you or temporarily occu-
           or "suit";                                                              pied by you with permission of the
       (2) Authorize us to obtain records and other                                owner;
           information;




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            (iii) That is insurance purchased by you        5. Premium Audit
                  to cover your liability as a tenant for      a. We will compute all premiums for this Cover-
                  "property damage" to premises rent-             age Part in accordance with our rules and
                  ed to you or temporarily occupied by            rates.
                  you with permission of the owner; or
                                                               b. Premium shown in this Coverage Part as ad-
            (iv) If the loss arises out of the mainte-            vance premium is a deposit premium only. At
                 nance or use of aircraft, "autos" or             the close of each audit period we will compute
                 watercraft to the extent not subject to          the earned premium for that period and send
                 Exclusion g. of Section I – Coverage             notice to the first Named Insured. The due date
                 A – Bodily Injury And Property Dam-              for audit and retrospective premiums is the
                 age Liability.                                   date shown as the due date on the bill. If the
         (b) Any other primary insurance available to             sum of the advance and audit premiums paid
             you covering liability for damages aris-             for the policy period is greater than the earned
             ing out of the premises or operations, or            premium, we will return the excess to the first
             the products and completed operations,               Named Insured.
             for which you have been added as an               c. The first Named Insured must keep records of
             additional insured by attachment of an               the information we need for premium computa-
             endorsement.                                         tion, and send us copies at such times as we
      (2) When this insurance is excess, we will have             may request.
          no duty under Coverages A or B to defend          6. Representations
          the insured against any "suit" if any other
          insurer has a duty to defend the insured             By accepting this policy, you agree:
          against that "suit". If no other insurer de-         a. The statements in the Declarations are accu-
          fends, we will undertake to do so, but we               rate and complete;
          will be entitled to the insured's rights             b. Those statements are based upon representa-
          against all those other insurers.                       tions you made to us; and
      (3) When this insurance is excess over other             c. We have issued this policy in reliance upon
          insurance, we will pay only our share of the            your representations.
          amount of the loss, if any, that exceeds the
          sum of:                                           7. Separation Of Insureds
         (a) The total amount that all such other              Except with respect to the Limits of Insurance, and
             insurance would pay for the loss in the           any rights or duties specifically assigned in this
             absence of this insurance; and                    Coverage Part to the first Named Insured, this in-
                                                               surance applies:
         (b) The total of all deductible and self-
             insured amounts under all that other in-          a. As if each Named Insured were the only
             surance.                                             Named Insured; and
      (4) We will share the remaining loss, if any,            b. Separately to each insured against whom claim
          with any other insurance that is not de-                is made or "suit" is brought.
          scribed in this Excess Insurance provision        8. Transfer Of Rights Of Recovery Against Others
          and was not bought specifically to apply in          To Us
          excess of the Limits of Insurance shown in
                                                               If the insured has rights to recover all or part of
          the Declarations of this Coverage Part.
                                                               any payment we have made under this Coverage
    c. Method Of Sharing                                       Part, those rights are transferred to us. The in-
      If all of the other insurance permits contribution       sured must do nothing after loss to impair them. At
      by equal shares, we will follow this method al-          our request, the insured will bring "suit" or transfer
      so. Under this approach each insurer contrib-            those rights to us and help us enforce them.
      utes equal amounts until it has paid its applica-     9. When We Do Not Renew
      ble limit of insurance or none of the loss
                                                               If we decide not to renew this Coverage Part, we
      remains, whichever comes first.
                                                               will mail or deliver to the first Named Insured
      If any of the other insurance does not permit            shown in the Declarations written notice of the
      contribution by equal shares, we will contribute         nonrenewal not less than 30 days before the expi-
      by limits. Under this method, each insurer's             ration date.
      share is based on the ratio of its applicable lim-
                                                               If notice is mailed, proof of mailing will be sufficient
      it of insurance to the total applicable limits of
                                                               proof of notice.
      insurance of all insurers.




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 SECTION V – DEFINITIONS                                     6. "Executive officer" means a person holding any of
 1. "Advertisement" means a notice that is broadcast            the officer positions created by your charter, con-
    or published to the general public or specific mar-         stitution, by-laws or any other similar governing
    ket segments about your goods, products or ser-             document.
    vices for the purpose of attracting customers or         7. "Hostile fire" means one which becomes uncon-
    supporters. For the purposes of this definition:            trollable or breaks out from where it was intended
    a. Notices that are published include material              to be.
       placed on the Internet or on similar electronic       8. "Impaired property" means tangible property, other
       means of communication; and                              than "your product" or "your work", that cannot be
    b. Regarding web-sites, only that part of a web-            used or is less useful because:
       site that is about your goods, products or ser-          a. It incorporates "your product" or "your work"
       vices for the purposes of attracting customers              that is known or thought to be defective, defi-
       or supporters is considered an advertisement.               cient, inadequate or dangerous; or
 2. "Auto" means:                                               b. You have failed to fulfill the terms of a contract
    a. A land motor vehicle, trailer or semitrailer de-            or agreement;
       signed for travel on public roads, including any         if such property can be restored to use by the re-
       attached machinery or equipment; or                      pair, replacement, adjustment or removal of "your
    b. Any other land vehicle that is subject to a com-         product" or "your work" or your fulfilling the terms
       pulsory or financial responsibility law or other         of the contract or agreement.
       motor vehicle insurance law in the state where        9. "Insured contract" means:
       it is licensed or principally garaged.                   a. A contract for a lease of premises. However,
    However, "auto" does not include "mobile equip-                that portion of the contract for a lease of prem-
    ment".                                                         ises that indemnifies any person or organiza-
 3. "Bodily injury" means bodily injury, sickness or               tion for damage by fire to premises while rent-
    disease sustained by a person, including death re-             ed to you or temporarily occupied by you with
    sulting from any of these at any time.                         permission of the owner is not an "insured con-
                                                                   tract";
 4. "Coverage territory" means:
                                                                b. A sidetrack agreement;
    a. The United States of America (including its
       territories and possessions), Puerto Rico and            c. Any easement or license agreement, except in
       Canada;                                                     connection with construction or demolition op-
                                                                   erations on or within 50 feet of a railroad;
    b. International waters or airspace, but only if the
       injury or damage occurs in the course of travel          d. An obligation, as required by ordinance, to
       or transportation between any places included               indemnify a municipality, except in connection
       in Paragraph a. above; or                                   with work for a municipality;
    c. All other parts of the world if the injury or dam-       e. An elevator maintenance agreement;
       age arises out of:                                        f. That part of any other contract or agreement
      (1) Goods or products made or sold by you in                  pertaining to your business (including an in-
          the territory described in Paragraph a.                   demnification of a municipality in connection
          above;                                                    with work performed for a municipality) under
                                                                    which you assume the tort liability of another
      (2) The activities of a person whose home is in               party to pay for "bodily injury" or "property
          the territory described in Paragraph a.                   damage" to a third person or organization. Tort
          above, but is away for a short time on your               liability means a liability that would be imposed
          business; or                                              by law in the absence of any contract or
      (3) "Personal and advertising injury" offenses                agreement.
          that take place through the Internet or simi-             Paragraph f. does not include that part of any
          lar electronic means of communication                     contract or agreement:
    provided the insured's responsibility to pay dam-              (1) That indemnifies a railroad for "bodily injury"
    ages is determined in a "suit" on the merits, in the               or "property damage" arising out of con-
    territory described in Paragraph a. above or in a                  struction or demolition operations, within 50
    settlement we agree to.                                            feet of any railroad property and affecting
 5. "Employee" includes a "leased worker". "Employ-                    any railroad bridge or trestle, tracks, road-
    ee" does not include a "temporary worker".                         beds, tunnel, underpass or crossing;
                                                                   (2) That indemnifies an architect, engineer or
                                                                       surveyor for injury or damage arising out of:



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          (a) Preparing, approving, or failing to pre-           e. Vehicles not described in Paragraph a., b., c.
              pare or approve, maps, shop drawings,                 or d. above that are not self-propelled and are
              opinions, reports, surveys, field orders,             maintained primarily to provide mobility to per-
              change orders or drawings and specifi-                manently attached equipment of the following
              cations; or                                           types:
          (b) Giving directions or instructions, or                 (1) Air compressors, pumps and generators,
              failing to give them, if that is the primary              including spraying, welding, building clean-
              cause of the injury or damage; or                         ing, geophysical exploration, lighting and
       (3) Under which the insured, if an architect,                    well servicing equipment; or
           engineer or surveyor, assumes liability for              (2) Cherry pickers and similar devices used to
           an injury or damage arising out of the in-                   raise or lower workers;
           sured's rendering or failure to render pro-            f. Vehicles not described in Paragraph a., b., c.
           fessional services, including those listed in             or d. above maintained primarily for purposes
           (2) above and supervisory, inspection, ar-                other than the transportation of persons or car-
           chitectural or engineering activities.                    go.
 10. "Leased worker" means a person leased to you by                 However, self-propelled vehicles with the fol-
     a labor leasing firm under an agreement between                 lowing types of permanently attached equip-
     you and the labor leasing firm, to perform duties               ment are not "mobile equipment" but will be
     related to the conduct of your business. "Leased                considered "autos":
     worker" does not include a "temporary worker".
                                                                    (1) Equipment designed primarily for:
 11. "Loading or unloading" means the handling of
     property:                                                         (a) Snow removal;
    a. After it is moved from the place where it is                    (b) Road maintenance, but not construction
       accepted for movement into or onto an aircraft,                     or resurfacing; or
       watercraft or "auto";                                           (c) Street cleaning;
    b. While it is in or on an aircraft, watercraft or              (2) Cherry pickers and similar devices mounted
       "auto"; or                                                       on automobile or truck chassis and used to
    c. While it is being moved from an aircraft, water-                 raise or lower workers; and
       craft or "auto" to the place where it is finally de-         (3) Air compressors, pumps and generators,
       livered;                                                         including spraying, welding, building clean-
    but "loading or unloading" does not include the                     ing, geophysical exploration, lighting and
    movement of property by means of a mechanical                       well servicing equipment.
    device, other than a hand truck, that is not at-             However, "mobile equipment" does not include
    tached to the aircraft, watercraft or "auto".                any land vehicles that are subject to a compulsory
 12. "Mobile equipment" means any of the following               or financial responsibility law or other motor vehi-
     types of land vehicles, including any attached ma-          cle insurance law in the state where it is licensed
     chinery or equipment:                                       or principally garaged. Land vehicles subject to a
                                                                 compulsory or financial responsibility law or other
    a. Bulldozers, farm machinery, forklifts and other           motor vehicle insurance law are considered "au-
       vehicles designed for use principally off public          tos".
       roads;
                                                              13. "Occurrence" means an accident, including con-
    b. Vehicles maintained for use solely on or next to           tinuous or repeated exposure to substantially the
       premises you own or rent;                                  same general harmful conditions.
    c. Vehicles that travel on crawler treads;                14. "Personal and advertising injury" means injury,
    d. Vehicles, whether self-propelled or not, main-             including consequential "bodily injury", arising out
       tained primarily to provide mobility to perma-             of one or more of the following offenses:
       nently mounted:                                           a. False arrest, detention or imprisonment;
       (1) Power cranes, shovels, loaders, diggers or            b. Malicious prosecution;
           drills; or
                                                                 c. The wrongful eviction from, wrongful entry into,
       (2) Road construction or resurfacing equipment               or invasion of the right of private occupancy of
           such as graders, scrapers or rollers;                    a room, dwelling or premises that a person oc-
                                                                    cupies, committed by or on behalf of its owner,
                                                                    landlord or lessor;




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    d. Oral or written publication, in any manner, of             (3) Products or operations for which the classi-
       material that slanders or libels a person or or-               fication, listed in the Declarations or in a
       ganization or disparages a person's or organi-                 policy schedule, states that products-
       zation's goods, products or services;                          completed operations are subject to the
    e. Oral or written publication, in any manner, of                 General Aggregate Limit.
       material that violates a person's right of priva-    17. "Property damage" means:
       cy;                                                     a. Physical injury to tangible property, including
    f. The use of another's advertising idea in your              all resulting loss of use of that property. All
       "advertisement"; or                                        such loss of use shall be deemed to occur at
    g. Infringing upon another's copyright, trade dress           the time of the physical injury that caused it; or
       or slogan in your "advertisement".                      b. Loss of use of tangible property that is not
 15. "Pollutants" mean any solid, liquid, gaseous or              physically injured. All such loss of use shall be
     thermal irritant or contaminant, including smoke,            deemed to occur at the time of the "occur-
     vapor, soot, fumes, acids, alkalis, chemicals and            rence" that caused it.
     waste. Waste includes materials to be recycled,           For the purposes of this insurance, electronic data
     reconditioned or reclaimed.                               is not tangible property.
 16. "Products-completed operations hazard":                   As used in this definition, electronic data means
    a. Includes all "bodily injury" and "property dam-         information, facts or programs stored as or on,
       age" occurring away from premises you own or            created or used on, or transmitted to or from com-
       rent and arising out of "your product" or "your         puter software, including systems and applications
       work" except:                                           software, hard or floppy disks, CD-ROMS, tapes,
                                                               drives, cells, data processing devices or any other
      (1) Products that are still in your physical pos-        media which are used with electronically controlled
          session; or                                          equipment.
      (2) Work that has not yet been completed or           18. "Suit" means a civil proceeding in which damages
          abandoned. However, "your work" will be               because of "bodily injury", "property damage" or
          deemed completed at the earliest of the fol-          "personal and advertising injury" to which this in-
          lowing times:                                         surance applies are alleged. "Suit" includes:
          (a) When all of the work called for in your          a. An arbitration proceeding in which such dam-
              contract has been completed.                        ages are claimed and to which the insured
          (b) When all of the work to be done at the              must submit or does submit with our consent;
              job site has been completed if your con-            or
              tract calls for work at more than one job        b. Any other alternative dispute resolution pro-
              site.                                               ceeding in which such damages are claimed
          (c) When that part of the work done at a job            and to which the insured submits with our con-
              site has been put to its intended use by            sent.
              any person or organization other than         19. "Temporary worker" means a person who is fur-
              another contractor or subcontractor               nished to you to substitute for a permanent "em-
              working on the same project.                      ployee" on leave or to meet seasonal or short-term
           Work that may need service, maintenance,             workload conditions.
           correction, repair or replacement, but which     20. "Volunteer worker" means a person who is not
           is otherwise complete, will be treated as            your "employee", and who donates his or her work
           completed.                                           and acts at the direction of and within the scope of
    b. Does not include "bodily injury" or "property            duties determined by you, and is not paid a fee,
       damage" arising out of:                                  salary or other compensation by you or anyone
                                                                else for their work performed for you.
      (1) The transportation of property, unless the
          injury or damage arises out of a condition in     21. "Your product":
          or on a vehicle not owned or operated by             a. Means:
          you, and that condition was created by the
          "loading or unloading" of that vehicle by any           (1) Any goods or products, other than real
          insured;                                                    property, manufactured, sold, handled, dis-
                                                                      tributed or disposed of by:
      (2) The existence of tools, uninstalled equip-
          ment or abandoned or unused materials; or                  (a) You;
                                                                     (b) Others trading under your name; or




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          (c) A person or organization whose busi-
              ness or assets you have acquired; and
       (2) Containers (other than vehicles), materials,
           parts or equipment furnished in connection
           with such goods or products.
    b. Includes:
       (1) Warranties or representations made at any
           time with respect to the fitness, quality, du-
           rability, performance or use of "your prod-
           uct"; and
       (2) The providing of or failure to provide warn-
           ings or instructions.
    c. Does not include vending machines or other
       property rented to or located for the use of oth-
       ers but not sold.
 22. "Your work":
    a. Means:
       (1) Work or operations performed by you or on
           your behalf; and
       (2) Materials, parts or equipment furnished in
           connection with such work or operations.
    b. Includes:
       (1) Warranties or representations made at any
           time with respect to the fitness, quality, du-
           rability, performance or use of "your work",
           and
       (2) The providing of or failure to provide warn-
           ings or instructions.




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 00 68 05 09

       RECORDING AND DISTRIBUTION OF MATERIAL OR
       INFORMATION IN VIOLATION OF LAW EXCLUSION
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART


 A. Exclusion q. of Paragraph 2. Exclusions of Sec-          B. Exclusion p. of Paragraph 2. Exclusions of Sec-
    tion I – Coverage A – Bodily Injury And Proper-             tion I – Coverage B – Personal And Advertising
    ty Damage Liability is replaced by the following:           Injury Liability is replaced by the following:
    2. Exclusions                                               2. Exclusions
       This insurance does not apply to:                           This insurance does not apply to:
       q. Recording And Distribution Of Material                   p. Recording And Distribution Of Material
          Or Information In Violation Of Law                          Or Information In Violation Of Law
          "Bodily injury" or "property damage" arising                 "Personal and advertising injury" arising di-
          directly or indirectly out of any action or                  rectly or indirectly out of any action or omis-
          omission that violates or is alleged to vio-                 sion that violates or is alleged to violate:
          late:                                                       (1) The Telephone Consumer Protection
          (1) The Telephone Consumer Protection                           Act (TCPA), including any amendment
              Act (TCPA), including any amendment                         of or addition to such law;
              of or addition to such law;                             (2) The CAN-SPAM Act of 2003, including
          (2) The CAN-SPAM Act of 2003, including                         any amendment of or addition to such
              any amendment of or addition to such                        law;
              law;                                                    (3) The Fair Credit Reporting Act (FCRA),
          (3) The Fair Credit Reporting Act (FCRA),                       and any amendment of or addition to
              and any amendment of or addition to                         such law, including the Fair and Accu-
              such law, including the Fair and Accu-                      rate Credit Transaction Act (FACTA); or
              rate Credit Transaction Act (FACTA); or                 (4) Any federal, state or local statute, ordi-
          (4) Any federal, state or local statute, ordi-                  nance or regulation, other than the
              nance or regulation, other than the                         TCPA, CAN-SPAM Act of 2003 or
              TCPA, CAN-SPAM Act of 2003 or                               FCRA and their amendments and addi-
              FCRA and their amendments and addi-                         tions, that addresses, prohibits, or limits
              tions, that addresses, prohibits, or limits                 the printing, dissemination, disposal,
              the printing, dissemination, disposal,                      collecting, recording, sending, transmit-
              collecting, recording, sending, transmit-                   ting, communicating or distribution of
              ting, communicating or distribution of                      material or information.
              material or information.




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                                                                            COMMERCIAL GENERAL LIABILITY

                                                                                                    CG 02 20 03 12




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


 FLORIDA CHANGES CANCELLATION AND NONRENEWAL
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    ELECTRONIC DATA LIABILITY COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    POLLUTION LIABILITY COVERAGE PART
    PRODUCT WITHDRAWAL COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


 A. Paragraph 2. of the Cancellation Common Policy                    (4) A substantial change in the risk covered
    Condition is replaced by the following:                               by the policy; or
    2. Cancellation Of Policies In Effect                             (5) The cancellation is for all insureds under
       a. For 90 Days Or Less                                             such policies for a given class of
                                                                          insureds.
          If this policy has been in effect for 90 days or
          less, we may cancel this policy by mailing or                If we cancel this policy for any of these
          delivering to the first Named Insured written                reasons, we will mail or deliver to the first
          notice of cancellation, accompanied by the                   Named       Insured     written notice     of
          reasons for cancellation, at least:                          cancellation, accompanied by the reasons
                                                                       for cancellation, at least:
          (1) 10 days before the effective date of
              cancellation if we cancel for nonpayment                   (a) 10 days before the effective date of
              of premium; or                                                 cancellation if we cancel for
                                                                             nonpayment of premium; or
          (2) 20 days before the effective date of
              cancellation if we cancel for any other                    (b) 45 days before the effective date of
              reason, except we may cancel                                   cancellation if we cancel for any of the
              immediately if there has been:                                 other reasons stated in Paragraph
                                                                             2.b.
             (a) A    material    misstatement         or
                 misrepresentation; or                       B. Paragraph 3. of the Cancellation Common Policy
                                                                Condition is replaced by the following:
             (b) A failure to comply with the
                 underwriting            requirements           3. We will mail or deliver our notice to the first
                 established by the insurer.                       Named Insured at the last mailing address
                                                                   known to us.
       b. For More Than 90 Days
          If this policy has been in effect for more than
          90 days, we may cancel this policy only for
          one or more of the following reasons:
          (1) Nonpayment of premium;
          (2) The policy was obtained by a material
              misstatement;
          (3) Failure to comply with underwriting
              requirements established by the insurer
              within 90 days of the effective date of
              coverage;




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 C. Paragraph 5. of the Cancellation Common Policy                Nonrenewal
    Condition is replaced by the following:                       1. If we decide not to renew this policy, we will mail
    5. If this policy is cancelled, we will send the first           or deliver to the first Named Insured written
       Named Insured any premium refund due. If we                   notice of nonrenewal, accompanied by the
       cancel, the refund will be pro rata. If the first             reason for nonrenewal, at least 45 days prior to
       Named Insured cancels, the refund may be less                 the expiration of this policy.
       than pro rata. If the return premium is not                2. Any notice of nonrenewal will be mailed or
       refunded with the notice of cancellation or when              delivered to the first Named Insured at the last
       this policy is returned to us, we will mail the               mailing address known to us. If notice is mailed,
       refund within 15 working days after the date                  proof of mailing will be sufficient proof of notice.
       cancellation takes effect, unless this is an audit
       policy.
       If this is an audit policy, then, subject to your full
       cooperation with us or our agent in securing the
       necessary data for audit, we will return any
       premium refund due within 90 days of the date
       cancellation takes effect. If our audit is not
       completed within this time limitation, then we
       shall accept your own audit, and any premium
       refund due shall be mailed within 10 working
       days of receipt of your audit.
       The cancellation will be effective even if we
       have not made or offered a refund.
 D. The following is added and supersedes any other
    provision to the contrary:




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                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                            CG 20 33 07 04

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     ADDITIONAL INSURED – OWNERS, LESSEES OR
      CONTRACTORS – AUTOMATIC STATUS WHEN
   REQUIRED IN CONSTRUCTION AGREEMENT WITH YOU
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART


 A. Section II – Who Is An Insured is amended to              B. With respect to the insurance afforded to these
    include as an additional insured any person or or-           additional insureds, the following additional exclu-
    ganization for whom you are performing opera-                sions apply:
    tions when you and such person or organization               This insurance does not apply to:
    have agreed in writing in a contract or agreement
    that such person or organization be added as an              1. "Bodily injury", "property damage" or "personal
    additional insured on your policy. Such person or               and advertising injury" arising out of the render-
    organization is an additional insured only with re-             ing of, or the failure to render, any professional
    spect to liability for "bodily injury", "property dam-          architectural, engineering or surveying ser-
    age" or "personal and advertising injury" caused,               vices, including:
    in whole or in part, by:                                         a. The preparing, approving, or failing to pre-
    1. Your acts or omissions; or                                       pare or approve, maps, shop drawings,
                                                                        opinions, reports, surveys, field orders,
    2. The acts or omissions of those acting on your                    change orders or drawings and specifica-
       behalf;                                                          tions; or
    in the performance of your ongoing operations for                b. Supervisory, inspection, architectural or
    the additional insured.                                             engineering activities.
    A person's or organization's status as an addition-          2. "Bodily injury" or "property damage" occurring
    al insured under this endorsement ends when your                after:
    operations for that additional insured are complet-
    ed.                                                              a. All work, including materials, parts or
                                                                        equipment furnished in connection with
                                                                        such work, on the project (other than ser-
                                                                        vice, maintenance or repairs) to be per-
                                                                        formed by or on behalf of the additional in-
                                                                        sured(s) at the location of the covered
                                                                        operations has been completed; or
                                                                     b. That portion of "your work" out of which the
                                                                        injury or damage arises has been put to its
                                                                        intended use by any person or organization
                                                                        other than another contractor or subcon-
                                                                        tractor engaged in performing operations
                                                                        for a principal as a part of the same project.




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 POLICY NUMBER: SES1814229 00                                             COMMERCIAL GENERAL LIABILITY
                                                                                         CG 20 37 07 04

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          ADDITIONAL INSURED – OWNERS, LESSEES OR
           CONTRACTORS – COMPLETED OPERATIONS
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                   SCHEDULE

       Name of Additional Insured Person(s) or
                 Organization(s):                         Location and Description of Completed Operations

  All persons or organizations where written contract All persons or organizations where written contract
  with the Named Insured requires additional insured with the Named Insured requires additional insured
  completed operations coverage. This form does not         completed operations coverage. This form does not
  apply to your work on residential property.               apply to your work on "residential property"
  Information required to complete this Schedule, if not shown above, will be shown in the Declarations.



  Section II – Who Is An Insured is amended to
  include as an additional insured the person(s) or
  organization(s) shown in the Schedule, but only with
  respect to liability for "bodily injury" or "property
  damage" caused, in whole or in part, by "your work"
  at the location designated and described in the
  schedule of this endorsement performed for that
  additional insured and included in the "products-
  completed operations hazard".




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                                                                             COMMERCIAL GENERAL LIABILITY
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EXCLUSION – ACCESS OR DISCLOSURE OF
     CONFIDENTIAL OR PERSONAL INFORMATION AND
    DATA-RELATED LIABILITY – LIMITED BODILY INJURY
              EXCEPTION NOT INCLUDED
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

 A. Exclusion 2.p. of Section I – Coverage A –                B. The following is added to Paragraph 2.
    Bodily Injury And Property Damage Liability is               Exclusions of Section I – Coverage B –
    replaced by the following:                                   Personal And Advertising Injury Liability:
    2. Exclusions                                                2. Exclusions
       This insurance does not apply to:                            This insurance does not apply to:
       p. Access Or Disclosure Of Confidential Or                   Access Or Disclosure Of Confidential Or
          Personal Information And Data-related                     Personal Information
          Liability                                                 "Personal and advertising injury" arising out of
          Damages arising out of:                                   any access to or disclosure of any person's or
         (1) Any access to or disclosure of any                     organization's     confidential   or    personal
              person's or organization's confidential or            information, including patents, trade secrets,
              personal information, including patents,              processing methods, customer lists, financial
              trade secrets, processing methods,                    information, credit card information, health
              customer lists, financial information,                information or any other type of nonpublic
              credit    card    information,     health             information.
              information or any other type of                      This exclusion applies even if damages are
              nonpublic information; or                             claimed for notification costs, credit monitoring
          (2) The loss of, loss of use of, damage to,               expenses, forensic expenses, public relations
               corruption of, inability to access, or               expenses or any other loss, cost or expense
               inability to manipulate electronic data.             incurred by you or others arising out of any
                                                                    access to or disclosure of any person's or
           This exclusion applies even if damages are               organization's     confidential   or    personal
           claimed for notification costs, credit                   information.
           monitoring expenses, forensic expenses,
           public relations expenses or any other loss,
           cost or expense incurred by you or others
           arising out of that which is described in
           Paragraph (1) or (2) above.
           As used in this exclusion, electronic data
           means information, facts or programs
           stored as or on, created or used on, or
           transmitted to or from computer software,
           including      systems     and     applications
           software, hard or floppy disks, CD-ROMs,
           tapes, drives, cells, data processing
           devices or any other media which are used
           with electronically controlled equipment.




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                                                                                           CG 21 09 06 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    EXCLUSION – UNMANNED AIRCRAFT
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

 A. Exclusion 2.g. Aircraft, Auto Or Watercraft under                     This Paragraph g.(2) applies even if the
    Section I – Coverage A – Bodily Injury And                            claims against any insured allege
    Property Damage Liability is replaced by the                          negligence or other wrongdoing in the
    following:                                                            supervision, hiring, employment, training
    2. Exclusions                                                         or monitoring of others by that insured, if
                                                                          the "occurrence" which caused the
        This insurance does not apply to:                                 "bodily injury" or "property damage"
        g. Aircraft, Auto Or Watercraft                                   involved the ownership, maintenance,
           (1) Unmanned Aircraft                                          use or entrustment to others of any
                                                                          aircraft (other than "unmanned aircraft"),
               "Bodily injury" or "property damage"                       "auto" or watercraft that is owned or
               arising   out    of    the    ownership,                   operated by or rented or loaned to any
               maintenance, use or entrustment to                         insured.
               others of any aircraft that is an
               "unmanned aircraft". Use includes                          This Paragraph g.(2) does not apply to:
               operation and "loading or unloading".                     (a) A watercraft while ashore on
              This Paragraph g.(1) applies even if the                        premises you own or rent;
              claims against any insured allege                          (b) A watercraft you do not own that is:
              negligence or other wrongdoing in the                           (i) Less than 26 feet long; and
              supervision, hiring, employment, training
              or monitoring of others by that insured, if                    (ii) Not being used to carry persons
              the "occurrence" which caused the                                   or property for a charge;
              "bodily injury" or "property damage"                       (c) Parking an "auto" on, or on the ways
              involved the ownership, maintenance,                           next to, premises you own or rent,
              use or entrustment to others of any                            provided the "auto" is not owned by
              aircraft that is an "unmanned aircraft".                       or rented or loaned to you or the
          (2) Aircraft (Other Than Unmanned                                  insured;
              Aircraft), Auto Or Watercraft                              (d) Liability assumed under any "insured
              "Bodily injury" or "property damage"                           contract"     for  the    ownership,
              arising    out    of     the  ownership,                       maintenance or use of aircraft or
              maintenance, use or entrustment to                             watercraft; or
              others of any aircraft (other than
              "unmanned       aircraft"),  "auto"   or
              watercraft owned or operated by or
              rented or loaned to any insured. Use
              includes operation and "loading or
              unloading".




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             (e) "Bodily injury" or "property damage"             This exclusion applies even if the claims
                 arising out of:                                  against any insured allege negligence or other
                 (i) The operation of machinery or                wrongdoing in the supervision, hiring,
                     equipment that is attached to, or            employment, training or monitoring of others by
                     part of, a land vehicle that would           that insured, if the offense which caused the
                     qualify under the definition of              "personal and advertising injury" involved the
                     "mobile equipment" if it were not            ownership, maintenance, use or entrustment to
                     subject to a compulsory or                   others of any aircraft that is an "unmanned
                     financial responsibility law or              aircraft".
                     other motor vehicle insurance law            This exclusion does not apply to:
                     where it is licensed or principally          a. The use of another's advertising idea in
                     garaged; or                                      your "advertisement"; or
                (ii) The operation of any of the                   b. Infringing upon another's copyright, trade
                     machinery or equipment listed in                 dress or slogan in your "advertisement".
                     Paragraph f.(2) or f.(3) of the
                     definition of "mobile equipment".      C. The following definition is added to the Definitions
                                                               section:
 B. The following exclusion is added to Paragraph 2.
    Exclusions of Coverage B – Personal And                    "Unmanned aircraft" means an aircraft that is not:
    Advertising Injury Liability:                              1. Designed;
    2. Exclusions                                              2. Manufactured; or
       This insurance does not apply to:                       3. Modified after manufacture;
       Unmanned Aircraft                                       to be controlled directly by a person from within or
       "Personal and advertising injury" arising out of        on the aircraft.
       the    ownership,    maintenance,      use    or
       entrustment to others of any aircraft that is an
       "unmanned aircraft". Use includes operation
       and "loading or unloading".




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                                                                            COMMERCIAL GENERAL LIABILITY
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  COMMUNICABLE DISEASE EXCLUSION
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART


 A. The following exclusion is added to Paragraph 2.         B. The following exclusion is added to Paragraph 2.
    Exclusions of Section I – Coverage A – Bodily               Exclusions of Section I – Coverage B – Person-
    Injury And Property Damage Liability:                       al And Advertising Injury Liability:
    2. Exclusions                                               2. Exclusions
       This insurance does not apply to:                           This insurance does not apply to:
       Communicable Disease                                        Communicable Disease
       "Bodily injury" or "property damage" arising out            "Personal and advertising injury" arising out of
       of the actual or alleged transmission of a com-             the actual or alleged transmission of a com-
       municable disease.                                          municable disease.
       This exclusion applies even if the claims                   This exclusion applies even if the claims
       against any insured allege negligence or other              against any insured allege negligence or other
       wrongdoing in the:                                          wrongdoing in the:
       a. Supervising, hiring, employing, training or              a. Supervising, hiring, employing, training or
          monitoring of others that may be infected                   monitoring of others that may be infected
          with and spread a communicable disease;                     with and spread a communicable disease;
       b. Testing for a communicable disease;                      b. Testing for a communicable disease;
       c. Failure to prevent the spread of the dis-                c. Failure to prevent the spread of the dis-
          ease; or                                                    ease; or
       d. Failure to report the disease to authorities.            d. Failure to report the disease to authorities.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                       EXCLUSION – DESIGNATED WORK
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART



                                                   SCHEDULE

Description of your work: All work conducted in the states of Colorado and New York

(If no entry appears above, information required to complete this endorsement will be shown in the Declarations as
applicable to this endorsement.)

This insurance does not apply to "bodily injury" or "property damage" included in the "products-completed
operations hazard" and arising out of "your work" shown in the Schedule.




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                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CG 21 36 03 05

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            EXCLUSION – NEW ENTITIES
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART


 Paragraph 3. of Section II – Who Is An Insured does
 not apply.




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  POLICY NUMBER: SES1814229 00                                            COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21 47 12 07

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EMPLOYMENT-RELATED PRACTICES EXCLUSION
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

 A. The following exclusion is added to Paragraph 2.,      B. The following exclusion is added to Paragraph 2.,
    Exclusions of Section I – Coverage A – Bodily             Exclusions of Section I – Coverage B – Person-
    Injury And Property Damage Liability:                     al And Advertising Injury Liability:
    This insurance does not apply to:                         This insurance does not apply to:
    "Bodily injury" to:                                       "Personal and advertising injury" to:
   (1) A person arising out of any:                           (1) A person arising out of any:
      (a) Refusal to employ that person;                         (a) Refusal to employ that person;
      (b) Termination of that person's employment;               (b) Termination of that person's employment;
          or                                                         or
      (c) Employment-related practices, policies,                (c) Employment-related practices, policies,
          acts or omissions, such as coercion, demo-                 acts or omissions, such as coercion, demo-
          tion, evaluation, reassignment, discipline,                tion, evaluation, reassignment, discipline,
          defamation, harassment, humiliation, dis-                  defamation, harassment, humiliation, dis-
          crimination or malicious prosecution di-                   crimination or malicious prosecution di-
          rected at that person; or                                  rected at that person; or
   (2) The spouse, child, parent, brother or sister of        (2) The spouse, child, parent, brother or sister of
       that person as a consequence of "bodily injury"            that person as a consequence of "personal and
       to that person at whom any of the employment-              advertising injury" to that person at whom any
       related practices described in Paragraphs (a),             of the employment-related practices described
       (b), or (c) above is directed.                             in Paragraphs (a), (b), or (c) above is directed.
    This exclusion applies:                                   This exclusion applies:
   (1) Whether the injury-causing event described in          (1) Whether the injury-causing event described in
       Paragraphs (a), (b) or (c) above occurs before             Paragraphs (a), (b) or (c) above occurs before
       employment, during employment or after em-                 employment, during employment or after em-
       ployment of that person;                                   ployment of that person;
   (2) Whether the insured may be liable as an em-            (2) Whether the insured may be liable as an em-
       ployer or in any other capacity; and                       ployer or in any other capacity; and
   (3) To any obligation to share damages with or             (3) To any obligation to share damages with or
       repay someone else who must pay damages                    repay someone else who must pay damages
       because of the injury.                                     because of the injury.




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                                                                              COMMERCIAL GENERAL LIABILITY
                                                                                             CG 21 49 09 99

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          TOTAL POLLUTION EXCLUSION ENDORSEMENT
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

 Exclusion f. under Paragraph 2., Exclusions of Sec-              (2) Any loss, cost or expense arising out of any:
 tion I – Coverage A – Bodily Injury And Property                    (a) Request, demand, order or statutory or
 Damage Liability is replaced by the following:                          regulatory requirement that any insured or
 This insurance does not apply to:                                       others test for, monitor, clean up, remove,
  f. Pollution                                                           contain, treat, detoxify or neutralize, or in
                                                                         any way respond to, or assess the effects of
   (1) "Bodily injury" or "property damage" which                        "pollutants"; or
       would not have occurred in whole or part but for
       the actual, alleged or threatened discharge,                  (b) Claim or suit by or on behalf of a govern-
       dispersal, seepage, migration, release or es-                     mental authority for damages because of
       cape of "pollutants" at any time.                                 testing for, monitoring, cleaning up, remov-
                                                                         ing, containing, treating, detoxifying or neu-
                                                                         tralizing, or in any way responding to, or as-
                                                                         sessing the effects of, "pollutants".




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                                                                                           CG 21 53 01 96

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      EXCLUSION – DESIGNATED ONGOING OPERATIONS
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                   SCHEDULE

 Description of Designated Ongoing Operation(s):
 All work conducted in the states of Colorado and New York



 Specified Location (If Applicable):




 (If no entry appears above, information required to complete this endorsement will be shown in the Declarations
 as applicable to this endorsement.)

 The following exclusion is added to paragraph 2., Ex-       exclusion applies regardless of where such operations
 clusions of COVERAGE A – BODILY INJURY AND                  are conducted by you or on your behalf. If a specific
 PROPERTY DAMAGE LIABILITY (Section I – Cover-               "location" is designated in the Schedule of this en-
 ages):                                                      dorsement, this exclusion applies only to the
 This insurance does not apply to "bodily injury" or         described ongoing operations conducted at that
 "property damage" arising out of the ongoing opera-         "location".
 tions described in the Schedule of this endorsement,        For the purpose of this endorsement, "location"
 regardless of whether such operations are conducted         means premises involving the same or connecting
 by you or on your behalf or whether the operations are      lots, or premises whose connection is interrupted only
 conducted for yourself or for others.                       by a street, roadway, waterway or right-of-way of a
 Unless a "location" is specified in the Schedule, this      railroad.




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 POLICY NUMBER: SES1814229 00                                               COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21 54 01 96

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


  EXCLUSION – DESIGNATED OPERATIONS COVERED BY
   A CONSOLIDATED (WRAP-UP) INSURANCE PROGRAM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                   SCHEDULE


Description and Location of Operation(s):
All operations at locations at which the insured was at any time:
1. Covered, offered Coverage, or denied coverage; or
2. Enrolled, offered enrollment, or not allowed to enroll under a wrap-up program
(If no entry appears above, information required to complete this endorsement will be shown in the Declarations as
applicable to this endorsement.)

The following exclusion is added to paragraph 2.,           provided by the prime contractor/project manager or
Exclusions of COVERAGE A – BODILY INJURY AND                owner of the construction project in which you are
PROPERTY DAMAGE LIABILITY (Section I –                      involved.
Coverages):
                                                            This exclusion applies whether or not the consolidated
This insurance does not apply to "bodily injury" or         (wrap-up) insurance program:
"Property damage" arising out of either your ongoing        (1) Provides coverage identical to that provided by this
operations or operations included within the "prod-         Coverage Part;
ucts-completed operations hazard" at the location           (2) Has limits adequate to cover all claims; or
described in the Schedule of this endorsement, as a         (3) Remains in effect.
consolidated (wrap-up) insurance program has been




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        b. Protracted and obvious physical disfigure-                  (1) Within the United States (including its
           ment; or                                                        territories and possessions and Puerto
                                                                           Rico); or
        c. Protracted loss of or impairment of the
           function of a bodily member or organ; or                    (2) Outside of the United States in the case
                                                                           of:
    3. The terrorism involves the use, release or
       escape of nuclear materials, or directly or indi-                   (a) An air carrier (as defined in Section
       rectly results in nuclear reaction or radiation or                      40102 of title 49, United States
       radioactive contamination; or                                           Code) or United States flag vessel
                                                                               (or a vessel based principally in the
    4. The terrorism is carried out by means of the                            United States, on which United
       dispersal or application of pathogenic or poi-                          States income tax is paid and whose
       sonous biological or chemical materials; or                             insurance coverage is subject to
    5. Pathogenic or poisonous biological or chemical                          regulation in the United States), re-
       materials are released, and it appears that one                         gardless of where the loss occurs; or
       purpose of the terrorism was to release such                        (b) The premises of any United States
       materials.                                                              mission; and
    With respect to this exclusion, Paragraphs 1. and                c. The act is a violent act or an act that is
    2. describe the thresholds used to measure the                      dangerous to human life, property or infra-
    magnitude of an incident of an "other act of terror-                structure and is committed by an individual
    ism" and the circumstances in which the threshold                   or individuals as part of an effort to coerce
    will apply for the purpose of determining whether                   the civilian population of the United States
    this exclusion will apply to that incident.                         or to influence the policy or affect the con-
 B. The following definitions are added:                                duct of the United States Government by
                                                                        coercion.
    1. For the purposes of this endorsement, “any
       injury or damage” means any injury or damage              3. “Other act of terrorism” means a violent act or
       covered under any Coverage Part to which this                an act that is dangerous to human life, property
       endorsement is applicable, and includes but is               or infrastructure that is committed by an indi-
       not limited to “bodily injury”, “property damage”,           vidual or individuals and that appears to be
       “clean up costs”, “mold clean up costs”, or “cri-            part of an effort to coerce a civilian population
       sis management expense” as may be defined                    or to influence the policy or affect the conduct
       in any applicable Coverage Part.                             of any government by coercion, and the act is
                                                                    not a "certified act of terrorism".
     2. “Certified act of terrorism” means an act that is
 certified by the Secretary of the Treasury, in concur-              Multiple incidents of an “other act of terrorism”
 rence with the Secretary of State and the Attorney                  which occur within a seventy-two hour period
 General of the United States, to be an act of terrorism             and appear to be carried out in concert or to
 pursuant to the federal Terrorism Risk Insurance Act.               have a related purpose or common leadership
 The criteria contained in the Terrorism Risk Insurance              shall be considered to be one incident.
 Act for a “certified act of terrorism” include the follow-   C. In the event of any incident of a “certified act of
 ing:                                                            terrorism” or an “other act of terrorism” that is not
        a. The act resulted in insured losses in excess          subject to this exclusion, coverage does not apply
           of $5 million in the aggregate, attributable to       to any loss or damage that is otherwise excluded
           all types of insurance subject to the Terror-         under this Coverage Part.
           ism Risk Insurance Act;
        b. The act resulted in damage:



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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 22 79 07 98

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          EXCLUSION – CONTRACTORS – PROFESSIONAL
                          LIABILITY
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

 The following exclusion is added to Paragraph 2.,            2. Subject to Paragraph 3. below, professional ser-
 Exclusions of Section I – Coverage A – Bodily                   vices include:
 Injury And Property Damage Liability and Para-                  a. Preparing, approving, or failing to prepare or
 graph 2., Exclusions of Section I – Coverage B –                   approve, maps, shop drawings, opinions, re-
 Personal And Advertising Injury Liability:                         ports, surveys, field orders, change orders, or
 1. This insurance does not apply to "bodily injury",               drawings and specifications; and
     "property damage" or "personal and advertising in-          b. Supervisory or inspection activities performed
     jury" arising out of the rendering of or failure to            as part of any related architectural or engineer-
     render any professional services by you or on your             ing activities.
     behalf, but only with respect to either or both of the
     following operations:                                    3. Professional services do not include services
                                                                 within construction means, methods, techniques,
     a. Providing engineering, architectural or survey-          sequences and procedures employed by you in
         ing services to others in your capacity as an           connection with your operations in your capacity
         engineer, architect or surveyor; and                    as a construction contractor.
     b. Providing, or hiring independent professionals
         to provide, engineering, architectural or survey-
         ing services in connection with construction
         work you perform.




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 22 94 10 01

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EXCLUSION – DAMAGE TO WORK PERFORMED BY
           SUBCONTRACTORS ON YOUR BEHALF
 This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART


 Exclusion l. of Section I – Coverage A – Bodily Injury And Property Damage Liability is replaced by the fol-
 lowing:
 2. Exclusions
    This insurance does not apply to:
     l. Damage To Your Work
       "Property damage" to "your work" arising out of it or any part of it and included in the "products-completed
       operations hazard".




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 POLICY NUMBER: SES1814229 00                                                COMMERCIAL GENERAL LIABILITY
                                                                                            CG 24 04 05 09




        WAIVER OF TRANSFER OF RIGHTS OF RECOVERY
                  AGAINST OTHERS TO US

This endorsement modifies insurance provided under the following:


   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


                                                     SCHEDULE

 Name Of Person Or Organization:
 All persons or organizations where required by written contract with the Named Insured
 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

The following is added to Paragraph 8. Transfer Of
Rights Of Recovery Against Others To Us of
Section IV – Conditions:
We waive any right of recovery we may have against the
person or organization shown in the Schedule above
because of payments we make for injury or damage
arising out of your ongoing operations or "your work"
done under a contract with that person or organization
and included in the "products-completed operations
hazard". This waiver applies only to the person or
organization shown in the Schedule above.




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                                                                             IL 00 03 09 08

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               CALCULATION OF PREMIUM
 This endorsement modifies insurance provided under the following:

    CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
    COMMERCIAL AUTOMOBILE COVERAGE PART
    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    COMMERCIAL INLAND MARINE COVERAGE PART
    COMMERCIAL PROPERTY COVERAGE PART
    CRIME AND FIDELITY COVERAGE PART
    EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
    EQUIPMENT BREAKDOWN COVERAGE PART
    FARM COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
    POLLUTION LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
    RAILROAD PROTECTIVE LIABILITY COVERAGE PART


 The following is added:
 The premium shown in the Declarations was comput-
 ed based on rates in effect at the time the policy was
 issued. On each renewal, continuation, or anniversary
 of the effective date of this policy, we will compute the
 premium in accordance with our rates and rules then
 in effect.




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                                                                                                        IL 00 17 11 98


                            COMMON POLICY CONDITIONS
 All Coverage Parts included in this policy are subject to the following conditions.

 A. Cancellation                                                      b. Give you reports on the conditions we find;
    1. The first Named Insured shown in the Declara-                     and
       tions may cancel this policy by mailing or deli-               c. Recommend changes.
       vering to us advance written notice of cancella-            2. We are not obligated to make any inspections,
       tion.                                                          surveys, reports or recommendations and any
    2. We may cancel this policy by mailing or deliver-               such actions we do undertake relate only to in-
       ing to the first Named Insured written notice of               surability and the premiums to be charged. We
       cancellation at least:                                         do not make safety inspections. We do not un-
        a. 10 days before the effective date of cancel-               dertake to perform the duty of any person or
           lation if we cancel for nonpayment of pre-                 organization to provide for the health or safety
           mium; or                                                   of workers or the public. And we do not warrant
                                                                      that conditions:
        b. 30 days before the effective date of cancel-
           lation if we cancel for any other reason.                  a. Are safe or healthful; or
    3. We will mail or deliver our notice to the first                b. Comply with laws, regulations, codes or
       Named Insured's last mailing address known to                     standards.
       us.                                                         3. Paragraphs 1. and 2. of this condition apply not
    4. Notice of cancellation will state the effective                only to us, but also to any rating, advisory, rate
       date of cancellation. The policy period will end               service or similar organization which makes in-
       on that date.                                                  surance inspections, surveys, reports or rec-
                                                                      ommendations.
    5. If this policy is cancelled, we will send the first
       Named Insured any premium refund due. If we                 4. Paragraph 2. of this condition does not apply to
       cancel, the refund will be pro rata. If the first              any inspections, surveys, reports or recom-
       Named Insured cancels, the refund may be                       mendations we may make relative to certifica-
       less than pro rata. The cancellation will be ef-               tion, under state or municipal statutes, ordin-
       fective even if we have not made or offered a                  ances or regulations, of boilers, pressure ves-
       refund.                                                        sels or elevators.
    6. If notice is mailed, proof of mailing will be suffi-    E. Premiums
       cient proof of notice.                                      The first Named Insured shown in the Declara-
 B. Changes                                                        tions:
    This policy contains all the agreements between                1. Is responsible for the payment of all premiums;
    you and us concerning the insurance afforded.                     and
    The first Named Insured shown in the Declarations              2. Will be the payee for any return premiums we
    is authorized to make changes in the terms of this                pay.
    policy with our consent. This policy's terms can be        F. Transfer Of Your Rights And Duties Under This
    amended or waived only by endorsement issued                  Policy
    by us and made a part of this policy.
                                                                   Your rights and duties under this policy may not be
 C. Examination Of Your Books And Records                          transferred without our written consent except in
    We may examine and audit your books and                        the case of death of an individual named insured.
    records as they relate to this policy at any time dur-         If you die, your rights and duties will be transferred
    ing the policy period and up to three years after-             to your legal representative but only while acting
    ward.                                                          within the scope of duties as your legal representa-
 D. Inspections And Surveys                                        tive. Until your legal representative is appointed,
    1. We have the right to:                                       anyone having proper temporary custody of your
                                                                   property will have your rights and duties but only
        a. Make inspections and surveys at any time;               with respect to that property.




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                                                                                          NX GL 004 08 09


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         AMENDMENT - COMMON POLICY CONDITIONS

 This endorsement modifies insurance provided under the following:

         COMMON POLICY CONDITIONS

 The following is added:

         G. Other Insurance With This Company

             If this policy contains two or more Coverage Parts providing coverage for the same "occurrence,"
             “injury,” or offense, the maximum Limit of Insurance under all Coverage Parts shall not exceed the
             highest Limit of Insurance under any one Coverage Part.

             If this policy and any other policy issued to you by us apply to the same "occurrence," "injury," or
             offense, the maximum Limit of Insurance under all of the policies shall not exceed the highest
             Limit of Insurance under any one policy. This condition does not apply to any policy issued by us
             which specifically provides that the policy is to apply as excess insurance over this policy.




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                                                                                         NX GL 005 04 20




      POLICYHOLDER’S GUIDE TO REPORTING A CASUALTY CLAIM

    A. As soon as you are aware of an event that will give rise to a claim being made against you (3rd Party
       Liability Claims), please be sure to quickly report the matter to AmTrust North America. Be sure to
       include your policy number and the name of the insured as it is stated on the policy.


    B. New claims can be reported to AmTrust North America as follows:

              1. By Mail:                                 AmTrust North America
                                                          P.O. Box 650767
                                                          Dallas, TX 75265-0767

              2. By Electronic Mail:                      anaclaimsreporting@amtrustgroup.com

              3. By Telephone:                            (866) 272-9267

              4. By Fax:                                  (877) 207-3961




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                                                                                        NX GL 006 08 09


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                    INTERIM PREMIUM AUDIT CONDITION

 This endorsement modifies insurance provided under the following:

         COMMERCIAL GENERAL LIABILITY COVERAGE PART
         PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

 The following is added to paragraph 5. of SECTION IV — COMMERCIAL GENERAL LIABILITY CONDITIONS:

     5. Premium Audit

     d. We reserve the right to conduct a complete audit of your records during the policy term
        to determine the adequacy of the Advance Premium deposit. If the earned premium computed for
        the interim audit period exceeds the pro rated Advance Premium by an amount of 10% or more we
        shall reserve the right to amend the premium base(s) stated in the Declarations to reflect the data
        produced by the interim audit and to revise the Advance Premium accordingly. Any additional
        premium will be due and payable upon notice to the first named Insured. This provision shall not serve
        to amend the Minimum Premium as shown in the Declarations or our right to conduct further audits
        as per paragraph b. above.




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                                                                                        NX GL 007 08 09


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                    MINIMUM RETAINED AUDIT PREMIUM
 This endorsement modifies insurance provided under the following:


         COMMERCIAL GENERAL LIABILITY COVERAGE PART
         PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

 Paragraph 5.b. of SECTION IV, COMMERCIAL GENERAL LIABILITY CONDITIONS, is replaced by the
 following:

 5. Premium Audit

     b. Premium shown in this Coverage Part as Advance Premium is a deposit premium only. At the close of
        each audit period, we will compute the earned premium for that period. Audit premiums are due and
        payable upon notice to the First Named Insured. Premium Audit adjustments will be made to determine
        additional premiums only. You agree that there will be no downward adjustment of the Minimum
        Retained Audit Premium resulting from the Premium Audit provision of this policy.




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 POLICY NUMBER: SES1814229 00                                               COMMERCIAL GENERAL LIABILITY
                                                                                          NX GL 008 08 09


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                            MINIMUM RETAINED PREMIUM
 This endorsement modifies insurance provided under the following:

         COMMON POLICY CONDITIONS

 Paragraph 5. of A. Cancellation is replaced by the following:

         5. If this policy is cancelled, we will send the first Named Insured any premium refund due.
            If we cancel, the refund will be pro rata. If the first Named Insured cancels, earned premium
            will be computed according to the customary short rate table and procedure, subject to a
            Minimum Retained Premium of $                           . The cancellation will be effective even if
            we have not made or offered a refund.




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POLICY NUMBER: SES1814229 00                                                   COMMERCIAL GENERAL LIABILITY
                                                                                             NX GL 009 08 09



        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


          PRIMARY AND NON-CONTRIBUTING INSURANCE
                       (THIRD-PARTY)

This endorsement modifies insurance provided under the following:

           COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                     SCHEDULE


 Third Party:

 All persons or organizations where required by written contract with the Named Insured
 (Absence of a specifically named Third Party above means that the provisions of this endorsement apply as
 required by written contractual agreement with any Third Party for whom you are performing work.)


 Paragraph 4. of SECTION IV: COMMERCIAL GENERAL LIABILITY CONDITIONS is replaced by the following:


 4. Other Insurance:

    With respect to the Third Party shown above, this insurance is primary and non-contributing. Any and all other
    valid and collectable insurance available to such Third Party in respect of work performed by you under written
    contractual agreements with said Third Party for loss covered by this policy, shall in no instance be considered
    as primary, co-insurance, or contributing insurance. Rather, any such other insurance shall be considered
    excess over and above the insurance provided by this policy.




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                                                                                       NX GL 014 08 09


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     TEMPORARY & VOLUNTEER WORKER EXCLUSION

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART

Paragraph 5. of SECTION V - DEFINITIONS is replaced by the following:

5. "Employee" includes a "leased worker,'' "temporary worker" or "volunteer worker."




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                                                                                           NX GL 020 08 09


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



      EXCLUSION – ELECTROMAGNETIC FIELDS (EMF'S)

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following Exclusion is added to SECTION I – COVERAGES, paragraph 2. Exclusions of
   COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY:

    2. Exclusions

        This insurance does not apply to:

        Electromagnetic Fields (EMF’S)

        Any “bodily injury” or “property damage,” or any other loss, cost (including defense costs) or expense
        arising out of exposure to an “electromagnetic field” in any form, including but not limited to liability for
        the installation, operations, repair, sale or manufacture or distribution of any kind of equipment or
        products producing or in any way involving the effects of an “electromagnetic field.”

B. The following is added to SECTION V – DEFINITIONS:

        "Electromagnetic field" means electric and magnetic fields generated by varying electrical current
        through any medium including but not limited to wires whether or not intended for the purpose of
        conducting electricity.




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POLICY NUMBER: SES1814229 00                                               COMMERCIAL GENERAL LIABILITY
                                                                                         NX GL 021 08 09


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                     EXCLUSION — PUNITIVE DAMAGES
This endorsement modifies insurance provided under the following:


        COMMERCIAL GENERAL LIABILITY COVERAGE PART
        LIQUOR LIABILITY COVERAGE PART

The following Exclusion is added to SECTION I – COVERAGES, paragraph 2. Exclusions of COVERAGE
A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY, paragraph 2 Exclusions of COVERAGE
B – PERSONAL AND ADVERTISING INJURY LIABILITY and to SECTION I – LIQUOR LIABILITY COVERAGE
paragraph 2. Exclusions:

    2. Exclusions

        This insurance does not apply to:

        Punitive Damages

        Any claim of or indemnification for punitive or exemplary damages. If a “suit” seeking both
        compensatory and punitive or exemplary damages has been brought against you for a claim covered
        by this policy, we will provide defense for such action. We will not have any obligation to pay for any
        costs, interest or damages attributable to punitive or exemplary damages.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     DEDUCTIBLE LIABILITY ENDORSEMENT – INCLUDING
         EXPENSE (PER OCCURRENCE/OFFENSE)

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART
        PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


                                                   SCHEDULE

 Coverage                                                            Amount of Deductible


 Bodily Injury Liability                     OR      $ 2500           per occurrence


 Property Damage Liability                    OR     $ 2500           per occurrence


 Personal and Advertising Injury Liability           $ 2500           per offense
(If no entry appears above, information required to complete this endorsement will be shown in the
Declarations as applicable to this endorsement.)
APPLICATION OF ENDORSEMENT (Enter below any limitations on the application of this endorsement. If no
limitation is entered, the deductibles apply to damages for all "bodily injury", “property damage", and "personal
and advertising injury," however caused):




A.    Our obligation under the Bodily Injury Liability, Property Damage Liability, and Personal and Advertising
      Injury Liability Coverages to pay damages on your behalf applies only to the amount of damages in excess
      of any deductible amounts stated in the Schedule above as applicable to such coverages, and the Limits of
      Insurance applicable to Each Occurrence or offense for such coverages will be reduced by the amount of
      such deductible. Aggregate Limits for such coverages shall not be reduced by the application of such
      deductible amount.

B.    The deductible amounts apply to damages and all legal and loss adjustment expenses.

C.    The deductible amount stated in the Schedule above is on a per “occurrence” or offense basis and applies
      as follows:

      1. Under the Bodily Injury Liability Coverage to all damages because of "bodily injury";

      2. Under Property Damage Liability Coverage to all damages because of "property damage";

      3. Under Bodily Injury Liability and/or Property Damage Liability Coverage Combined, to all damages

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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                        NX GL 037 08 09

         because of:

         a. “bodily injury”;
         b. “property damage”; or
         c. ‘bodily injury” and “property damage” combined;

     4. Under Personal and Advertising Injury Liability Coverages to all damages because of "personal and
        advertising injury"

     as the result of any one “occurrence” or offense, regardless of the number of persons or organizations who
     sustain damages because of that “occurrence” or offense.

D.   The terms of this insurance, including those with respect to our right and duty to defend the insured against
     any "suits" seeking those damages and your duties in the event of an "occurrence," offense, claim or "suit,”
     apply irrespective of the application of the deductible amount.

E.   We may pay any part or all of the deductible amount to effect settlement of any claim or "suit" and, upon
     notification of the action taken, you shall promptly reimburse us for such part of the deductible amount as
     has been paid by us.




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                                                                                               NX GL 053 01 12


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        EXCLUSION – CONTINUOUS, PROGRESSIVE OR
                  REPEATED OFFENSES
This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following Exclusion is added to SECTION I – COVERAGES, paragraph 2. Exclusions of COVERAGE
A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY, and paragraph 2 Exclusions of COVERAGE
B – PERSONAL AND ADVERTISING INJURY LIABILITY:

2. Exclusions

    This insurance does not apply to "bodily injury", "property damage", or “personal and advertising injury”
    including continuous, progressive or repeated "bodily injury", "property damage", or “personal and advertising
    injury”

    Continuous, Progressive or Repeated Offenses:

        (1) that first occurs, in whole or in part, prior to the effective date of this policy;

        (2) first occurs, in whole or in part, prior to the effective date of this policy and also occurs during
            the policy period;

        (3) first occurs, in whole or in part, prior to the effective date of this policy, also occurs during the
            policy period, and ceases to occur after the expiration or cancellation date of this policy;

        (4) first occurs, in whole or in part, after the expiration or cancellation date of this policy; or

        (5) is alleged in a "suit" against any Insured where the filing date of the original complaint or other
            pleading initiating that "suit" is a date preceding the effective date of this policy, regardless of
            whether any Insured was named as a party to, or was served with process regarding, that
            "suit" prior to the effective date of this policy.


        The exclusions stated in Paragraphs (1), (2), (3), (4) and (5) apply regardless of whether the
        "bodily injury", "property damage", or “personal and advertising injury” was or is known or
        unknown by any Insured.

        For purposes of the exclusions stated in Paragraphs (1), (2), (3), (4) and (5), in the event of
        continuous, progressive or repeated "bodily injury", "property damage", or “personal and
        advertising injury” over any length of time, such "bodily injury" or "property damage" shall be
        deemed to be one "occurrence" and shall be deemed to occur at the time the "bodily injury”,
        "property damage" or “personal and advertising injury” first begins.




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POLICY NUMBER: SES1814229 00                                                COMMERCIAL GENERAL LIABILITY
                                                                                          NX GL 057 08 09


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


EXCLUSION – ALL RESIDENTIAL CONSTRUCTION WORK
This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE FORM
        PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
A. The following Exclusion is added to SECTION I – COVERAGES, paragraph 2. Exclusions of COVERAGE A
   – BODILY INJURY AND PROPERTY DAMAGE LIABILITY, paragraph 2. Exclusions of COVERAGE B –
   PERSONAL AND ADVERTISING INJURY LIABILITY:

    2. Exclusions

        This insurance does not apply to:

        All Residential Construction Work

        Any "bodily injury," "property damage," or "personal and advertising injury" which, in whole or in part,
        directly or indirectly, arises out of or is related to any past, present, continuing or future "residential
        construction work" performed by or on behalf of you , or by or on behalf of any other person or entity,
        on "residential property.” We have no duty to investigate, adjust or defend, or to pay any investigation,
        adjustment or defense costs, including attorney's fees, with respect to, a claim or "suit" seeking
        damages for such injury or damage.

B. The following are added to SECTION V – DEFINITIONS:
    "Residential construction work" means all work or operations in any way related to "residential property,"
    including but not limited to the development, design or building of a new structure or the addition to or
    extension of an existing structure, the maintenance, repair, renovation, restoration, improvement, betterment,
    alteration or modification of an existing structure, and the demolition or removal, in whole or in part, of an
    existing structure; and includes:

        (1) Work or operations regarding the real property on which the new or existing structure is located;
        (2) Materials, parts or equipment furnished in connection with the work or operations; and
        (3) Warranties or representations made, and warnings and instructions provided or not provided,
            regarding the work or operations.

    "Residential property" means structures intended for use or used, in whole or in part, as human dwellings,
    including but not limited to condominiums, town homes, townhouses, villas, cooperative housing, dormitories,
    master-planned housing, tract homes, mass-produced single family homes, custom-built single family homes,
    and "mixed use structures;" and includes structures initially intended for another kind of use, but subsequently
    converted by anyone for use, in whole or in part, as a human dwelling.
    "Repair or remodeling work" means work or operations limited to the maintenance, repair, renovation,
    restoration, improvement, betterment, alteration or modification of an existing structure, including partial
    demolition of that structure if required for such maintenance, repair, renovation, restoration, improvement,
    betterment, alteration or modification. "Repair or remodeling work" does not include such work or operations
    where 50% or more of the existing structure on which such work or operations are performed has been, or
    during the course of the work or operations is, demolished.

    "Mixed use structures" means structures intended for use or used both as a human dwelling and for one or
    more other purposes.

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                                                                                                       NX GL 066 08 09

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                EXCLUSION — PRIOR WORK COMPLETED,
                        SOLD OR ABANDONED
This endorsement modifies insurance provided under the following:

      COMMERCIAL GENERAL LIABILITY COVERAGE PART
      PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

                                                       Schedule
 Prior Work Completed, Sold or Abandoned Date:             05/02/2023



 (If no date is stated, then the date shall be the policy inception date.)


A.   The following Exclusion is added to SECTION I – COVERAGES, paragraph 2. Exclusions of COVERAGE A
     – BODILY INJURY AND PROPERTY DAMAGE LIABILITY, paragraph 2. Exclusions of COVERAGE B –
     PERSONAL AND ADVERTISING INJURY LIABILITY:

     2. Exclusions

        This insurance does not apply and the Company shall have no duty to defend:

        Prior Work Completed, Sold or Abandoned

        Any "bodily injury," "property damage," or "personal and advertising injury" which, in whole or in part,
        directly or indirectly, arises out of or is related to "your work" performed by or on behalf of an "insured," or
        by or on behalf of any other person or entity when:

        (1) "your work" is completed; or
        (2) any structure, building or land owned by the insured and on which an insured is also performing work
            is sold; or
        (3) "your work" has been "abandoned",

        prior to the date stated in the schedule.

B.   The following is added to paragraph 16.a. of SECTION V – DEFINITIONS:

     16. "Products-completed operations hazard"

        (d) When any structure, building or land on which the insured is performing work has been certified for
            use or occupancy.

C.   The following is added to SECTION V – DEFINITIONS:

     "Abandoned" means the failure to provide labor, materials or services for a period of ninety (90) days, despite
     the work set forth in the controlling construction project not being deemed complete by the Owner.




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                                                                                          NX GL 067 08 09


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  EXCLUSION – BLASTING OPERATIONS

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following Exclusion is added to SECTION I – COVERAGES, paragraph 2. Exclusions of COVERAGE A.
   BODILY INJURY AND PROPERTY DAMAGE LIABILITY, and paragraph 2. Exclusions of COVERAGE B.
   PERSONAL AND ADVERTISING INJURY LIABILITY:

    2. Exclusions

    This insurance does not apply to:

    Blasting Operations

    "Bodily injury,” "property damage," or "personal and advertising injury" arising from “blasting operations”
    performed by you or by others on your behalf.

B. The following is added to SECTION V – DEFINITIONS:

    “Blasting operations” means the use, storage and transport of explosives for demolition, construction, or
    earth and rock movement.




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                                                                                        NX GL 080 08 09


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


              EXCLUSION – RESIDENTIAL CONVERSION

This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following Exclusion is added to SECTION I – COVERAGES, paragraph 2. Exclusions of COVERAGE
A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY, and paragraph 2. Exclusions of COVERAGE
B – PERSONAL AND ADVERTISING INJURY LIABILITY:

   2. Exclusions

       This insurance does not apply to:

       Residential Conversion

       “Bodily injury,” “property damage,” or “personal and advertising injury” from the construction of any
       building, in whole or in part, which has been converted to a non-commercial dwelling or residence, at any
       time after the inception date of this insurance policy.

       As used in this exclusion, non-commercial dwellings or residences includes, but are not limited to,
       homes, cooperatives, town homes, lofts and condominiums.

       This exclusion does not apply to the construction, management, or ownership of apartment buildings,
       hotels or motels by you.




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                                                                                           NX GL 089 08 09


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              EXCLUSION – SUBSIDENCE

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following Exclusion is added to SECTION I – COVERAGES, paragraph 2. Exclusions of COVERAGE
A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY, and paragraph 2. Exclusions of COVERAGE
B – PERSONAL AND ADVERTISING INJURY LIABILITY:

2. Exclusions

    This policy does not apply to:


    Subsidence

        "Bodily injury," “property damage,” or “personal and advertising injury," including but not limited to
        disease or illness, including death, loss of use, damage to, or loss of property, directly or indirectly
        arising out of, caused by, resulting from, contributed to or aggravated by the subsidence, settling,
        sinking, slipping, falling away, caving in, shifting, eroding, mud flow, rising, tilting, bulging, cracking,
        shrinking, or expansion of foundations, walls, roofs, floors, ceilings, or any other movements of land or
        earth, regardless of whether the foregoing emanates from, or is attributable to, any operations performed
        by or on behalf of any insured. The foregoing applies regardless of whether the first manifestation of
        same occurs during the policy period or prior or subsequent thereto.

        There is no coverage nor defense under this policy for any claims, loss, costs, or expense arising from
        allegations against you resulting from or contributing to or aggravated by subsidence as described
        above.




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                                                                                       NX GL 093 08 09


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    AMENDMENT – AGGREGATE LIMITS OF INSURANCE
                  (PER PROJECT)

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE FORM


                                                    Schedule
Subject to an Overall Policy Aggregate Limit: $5,000,000



(Information required to complete this Schedule, if not shown above, will be shown in Declarations.)

A. Paragraphs 2. and 3. of SECTION III – LIMITS OF INSURANCE are replaced by the following:

    2. The Overall Policy Aggregate Limit is the most we will pay for the sum of
       a. Medical expenses under Coverage C;
       b. Damages under Coverage A, except damages because of "bodily injury" or "property damage"
           included in the "products-completed operations hazard"; and
       c. Damages under Coverage B.

    3. The Products-Completed Operations Aggregate Limit is the most we will pay under Coverage A for
       damages because of "bodily injury" and "property damage" included in the "products-completed
       operations hazard" to each of your projects away from premises owned by or rented to you.

B. The following is added to SECTION III – LIMITS OF INSURANCE:

    8. Subject to Paragraph 2. and 3. above, the General Aggregate Limit is the most we will pay under for the
       sum Coverage A, Coverage B, or Coverage C to each of your projects away from premises owned by or
       rented to you.




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                                                                                     NX GL 097 08 09


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                DEFINITION OF GROSS RECEIPTS/SALES
                           ENDORSEMENT

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following is added to SECTION V - DEFINITIONS:

Gross Sales/Receipts

The gross amount charged by the Named Insured, concessionaires of the Named Insured or by others trading
under the insured’s name for:

        a. All goods or products sold or distributed:

        b. Operations performed during the policy period; and

        c. Rentals

        d. Dues or fees

        The following items shall be deducted when computing gross sales:

        a. Sales or excise taxes which are collected and submitted to a governmental division;

        b. Credits for repossessed merchandise and products returned;

        c. Allowance for damaged and spoiled goods;

        d. Finance charges for items sold on installments;

        e. Freight charges on sales if freight is charged as a separate item on customers invoice; and

        f.   Royalty income from patent rights or copyrights, which are not product sales.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         UNDERGROUND UTILITY LOCATION CONDITION

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following is added to SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS:

Underground Utility Location Condition

Before commencing any digging, excavation, boring or similar underground work, a local locator service must
come to the job site and mark all underground lines, pipes, cables and underground utilities. You must obtain a
written response from the locator service.

Failure to comply with this condition will result in coverage under this policy being voided for any claim, “sui”, loss,
costs or expenses arising out of such digging operations.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



  EXCLUSION – INJURY TO EMPLOYEES, CONTRACTOR,
          EMPLOYEES OF A CONTRACTOR

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART
        PRODUCT/COMPLETED OPERATIONS LIABILITY COVERAGE PART

The following Exclusion is added to SECTION I – COVERAGES, paragraph 2. Exclusions of COVERAGE A –
BODILY INJURY AND PROPERTY DAMAGE LIABILITY, and paragraph 2. Exclusions of COVERAGE B –
PERSONAL AND ADVERTISING INJURY LIABILITY:

2. Exclusions

    This insurance does not apply to:

    INJURY TO EMPLOYEES, CONTRACTOR, EMPLOYEES OF A CONTRACT
    1. “Bodily injury” to any employee of any insured, to any contractor hired or retained by or for any
       insured or to any employee of such contractor, if such claim for bodily injury arises out of and
       in the course of his/her employment or retention of such contractor by or for any insured, for
       which any insured may become liable in any capacity;
    2. Any obligation of any insured to indemnify or contribute with another because of damage
       arising out of the “bodily injury”; or
    3. “Bodily injury” sustained by the spouse, child, parent, brother or sister of an employee of any
       insured, or of a contractor, or of an employee of a contractor of any insured as a consequence
       of “bodily injury” to such employee, contractor, or employee of such contractor, arising out of
       and in the course of such employment or retention by or for an insured.

    This exclusion applies to all claims and “suits” by any person or organization for damages
    because of such “bodily injury”, including damages for care and loss of services.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                             EXCLUSION – CROSS SUITS
                                   (INSUREDS)

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART
        PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

The following Exclusion is added to SECTION I – COVERAGES, paragraph 2. Exclusions of COVERAGE
A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY, and paragraph 2. Exclusions of COVERAGE
B – PERSONAL AND ADVERTISING INJURY LIABILITY:

2. Exclusions

    This insurance does not apply to:

    Suits between Insureds:

    Any obligation to defend any “suit” or claim against the “insured” alleging “bodily injury,” “property damage,” or
    “personal and advertising injury” resulting from, relating to, alleged by or brought between one Insured against
    another Insured under this policy.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              TAINTED DRYWALL MATERIAL EXCLUSION

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE FORM

This insurance does not apply to:

(1) Any liability, loss, injury or damages or any kind, including but not limited to “bodily injury,” “property damage,”
    “personal and advertising injury,” “reduction in value,” costs or expenses, actually or allegedly arising out of,
    related to, resulting from, caused by, contributed to, or in any other way connected with the actual or alleged
    manufacture, creation, distribution, sale, resale, rebranding, installation, repair, removal, encapsulation,
    release, abatement, replacement of, handling of, exposure to, ingestion of, testing for or failure to test for, or
    failure to warn, advise of or disclose the presence of “tainted drywall material,” whether or not the “tainted
    drywall material” is or was at any time and in any form airborne, contained in a product or a component part of
    a product, carried on clothing or other items, inhaled, ingested, absorbed, transmitted in any fashion or found
    in any form whatsoever.

(2) Any liability, loss, cost or expense including, but not limited to, payment for investigation or defense, fines,
    penalties, interest and other costs or expenses, arising out of or related to any:

    (a) Clean up or removal of “tainted drywall material’ or products and materials containing “tainted drywall
        material”;
    (b) Actions necessary to monitor, assess or evaluate the actual, alleged or threatened release of “tainted
        drywall material” or products and material containing “tainted drywall material”;
    (c) Disposal of actual or alleged “tainted drywall material” or the taking of action necessary to prevent,
        minimize or mitigate damage to the public health or welfare or to the environment which may otherwise
        result;
    (d) Compliance with any law or regulation regarding “tainted drywall material”;
    (e) Existence, storage, handling or transportation of “tainted drywall material”; or
    (f) Supervision, instructions, recommendations, warranties (express or implied), warnings or advice given or
        which should have been given with respect to “tainted drywall material.”

(3) Any obligation to share damages with or repay someone else in connection with Paragraphs (1) or (2) of this
    exclusion.

As used in this exclusion:

(4) “Tainted drywall material” means any:

    (a) Drywall, plasterboard, sheetrock or gypsum board; or
    (b) Material used in the manufacture of drywall, plasterboard, sheetrock or gypsum board;

    which:

        (i) Produces sulfuric odors, sulfuric gas, and/or sulfuric acid;
        (ii) Causes or contributes to the corrosion or oxidation of metal, including but not limited to metal in
              pipes, wiring, heating, ventilation and air conditioning systems; or
        (iii) Contains synthetic gypsum, fly ash or any other material derived from coal-fired power plants, or
                   arsenic or any radioactive compounds.
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(5) “Reduction in value” means the actual or alleged diminution in value, impairment, devaluation or loss of use of
    tangible property, whether or not physically injured.

It is further agreed we shall have no duty to investigate, defend or indemnify any insured against any loss, claim
“suit,” demand, fine or other proceeding alleging injury or damages of any kind, to include but not limited to “bodily
injury,” “property damage,” “personal and advertising injury,” “reduction in value” or cost or expense to which this
endorsement applies.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                EXCLUSION – OPEN ROOF

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE FORM
This policy is hereby amended as follows:

SECTION I – COVERAGES, paragraph 2. Exclusions of COVERAGE A. BODILY INJURY AND PROPERTY
DAMAGE LIABILITY, and paragraph 2. Exclusions of COVERAGE B. PERSONAL AND ADVERTISING
INJURY LIABILITY are amended to add the following:

This insurance does not apply to any “bodily injury," "property damage," or "personal and advertising injury" nor
do we have any duty to defend any:

claim for damage to any building or structure and/or the contents, furniture and fixtures, improvements and
betterments of any building or structure, directly or indirectly arising out of or caused, or alleged to have been
caused by, in whole or in part, wind, hail, snow, rain, ice or any combination of these or any other form of
precipitation occurring while the roof or other covering of the building or other structure is being constructed,
repaired or replaced, or as a result thereof.

Notwithstanding SECTION V – DEFINITIONS, Paragraph 14, “Products-Completed Operations Hazard,” work on
a roof, or other covering of a building or structure, shall be deemed complete only when all work or operations
upon it by anyone has been finished, regardless of whether the scope of an “insured’s” work or operations
includes less than the full completion of the roof or other covering.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        EXCLUSION – HOT TAR & TORCH

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE FORM

The policy is hereby amended as follows:

The following Exclusion is added to SECTION I – COVERAGES, paragraph 2. Exclusions of COVERAGE A.
BODILY INJURY AND PROPERTY DAMAGE LIABILITY, and paragraph 2. Exclusions of COVERAGE B.
PERSONAL AND ADVERTISING INJURY LIABILITY and COVERAGE C. MEDICAL PAYMENTS.

This insurance does not apply to “bodily injury," "property damage," or "personal and advertising injury" nor do we
have any duty to defend any claim or “suit” that arises out of, is caused by the use of, or is in any way connected
with the application of hot tar or the use of any torch, fire or flame for the application, repair, modification or
removal of any roofing materials or components.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     SPECIAL REQUIREMENTS FOR SUBCONTRACTORS

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART

A.      The following is added to SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS:

        Subcontractor Special Conditions

        1. Certificates of Insurance with Limits of Liability equal to or greater than the Limits of Insurance
           provided by this policy (underwritten by an insurance company with at least an “A-7” Best rating as
           defined by AM Best) will be obtained from all “subcontractors” prior to commencement of any work
           preformed for you. (Note: If this policy provides a per location or per project aggregate,
           “subcontractors” policy must also provide the same.)

        2. You will obtain written hold harmless agreements from “subcontractors” indemnifying you and the
           owner against all losses for work performed for you by any and all subcontractors.

        3. You will be named as an Additional Insured on all “subcontractors” General Liability policies.

        Your failure to comply with the conditions listed above will not invalidate this insurance or alter
        our obligation to you under the terms of this policy except:

        1. If any of the above conditions are not satisfied, a deductible equal to an amount twice the amount
           listed in the Declarations page of this policy will apply to any claim or “suit” under this policy seeking
           damages for “bodily injury,” “property damage” and/or “personal and advertising injury” arising out of
           the work performed by the “subcontractor” for the insured. The deductible amounts apply to damages
           and all legal and loss adjustment expenses. Provisions for the application of deductibles under this
           policy are set forth in the DEDUCTIBLE LIABILITY ENDORSEMENT.

        Commercial General Liability coverage maintained by the subcontractors shall be primary and this policy
        shall be excess of Limits of Liability of such insurance, not withstanding the language of the Other
        Insurance provisions of this policy.

B.      The following is added to SECTION V – DEFINITIONS:

        “Subcontractor” or “subcontractors” means any person or entity that is not your employee of an insured
        and does work or performs services for or on behalf of an insured.


All other terms and conditions of the policy remain unchanged.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                   STANDARD ADDITIONAL EXCLUSIONS

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART
        PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


The following Exclusions are added to the policy:

1. EXCLUSION – ASBESTOS

    SECTION I – COVERAGES, COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
    Paragraph 2. Exclusions, and COVERAGE B – PERSONAL AND ADVERTISING INJURY LIABILITY,
    Paragraph 2. Exclusions are amended to add the following:

    This insurance does not apply to:

    A. "Bodily injury," "property damage," or "personal and advertising injury," including but not limited to
       occupational disease, disability, shock, mental anguish or mental injury, at any time arising out of the
       manufacture of, mining of, use of, sale of, installation of, removal of, distribution of, or exposure to
       asbestos, asbestos products, asbestos fibers or asbestos dust;

    B. Any obligation of the "insured" to indemnify any party because of damages arising out of "bodily injury,"
       "property damage," or "personal and advertising injury," including but not limited to occupational disease,
       disability, shock, mental anguish or mental injury, at any time as a result of the manufacture of, mining of,
       use of, sale of, installation of, removal of, distribution of, or exposure to asbestos, asbestos products,
       asbestos fibers or asbestos dust; or

    C. Any obligation to defend any "suit" or claim against the "insured" alleging “bodily injury," "property
       damage," or "personal and advertising injury," including but not limited to occupational disease, disability,
       shock, mental anguish or mental injury, resulting from or contributed to, by the manufacture of, mining of,
       use of, sale of, installation of, removal of, distribution of, or exposure to asbestos, asbestos products,
       asbestos fibers or asbestos dust.

2. EXCLUSION – CHROMATED COPPER ARSENATE (CCA)

    SECTION I – COVERAGES, Paragraph 2. Exclusions of COVERAGE A – BODILY INJURY AND
    PROPERTY DAMAGE LIABILITY, and Paragraph 2. Exclusions of COVERAGE B – PERSONAL AND
    ADVERTISING INJURY LIABILITY are amended to add the following:

    This insurance does not apply to:

    "Bodily injury," "property damage" or "personal and advertising injury" arising out of:

    A. The manufacture, sale, distribution, application, use or presence of:
       (1) Chromated Copper Arsenate;
       (2) Any product or material which contains Chromated Copper Arsenate; or
       (3) Any product or material to which Chromated Copper Arsenate has been applied by any party,
           including but not limited to, any manufacturer, processor or distributor of such products or materials.

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   B. The actual, alleged or threatened discharge, dispersal, seepage, migration, release or escape of
      Chromated Copper Arsenate at any time.

   C. Any loss, cost or expense arising out of any:
      (1) request, demand or order that any insured or others test for, monitor, clean up, remove, contain, treat,
          detoxify or neutralize, or in any way respond to, assess the effects of Chromated Copper Arsenate; or
      (2) claim or “suit” on behalf of a governmental authority for damages because of testing for, monitoring,
          cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way responding to, or
          assessing the effect of Chromated Copper Arsenate.

3. EXCLUSION – DUTY TO DEFEND

   SECTION I – COVERAGES, Paragraph 2. Exclusions of COVERAGE A – BODILY INJURY AND
   PROPERTY DAMAGE LIABILITY, and Paragraph 2. Exclusions of COVERAGE B – PERSONAL AND
   ADVERTISING INJURY LIABILITY are amended to add the following:

   Where there is no coverage under this policy, there is no duty to defend.

4. EXCLUSION – EMPLOYMENT RELATED PRACTICES

   A. Section I – Coverage A – Bodily Injury and Property Damage Liability, Paragraph 2., Exclusions is
      amended to add the following:

       This insurance does not apply to:

       "Bodily injury" to:
       (1) A person arising out of any:
           (a) Refusal to employ that person;
           (b) Termination of that person's employment; or
           (c) Employment-related practices, policies, acts or omissions, such as coercion, demotion,
                evaluation, reassignment, discipline, defamation, harassment, humiliation, discrimination or
                malicious prosecution directed at that person; or

       (2) The spouse, child, parent, brother or sister of that person as a consequence of "bodily injury" to that
           person at whom any of the employment-related practices described in Paragraphs (a), (b), or (c)
           above is directed.

       This exclusion applies:

       (1) Whether the injury-causing event described in Paragraphs (a), (b) or (c) above occurs before
           employment, during employment or after employment of that person;
       (2) Whether the insured may be liable as an employer or in any other capacity; and
       (3) To any obligation to share damages with or repay someone else who must pay damages because of
           the injury.

   B. Section I – Coverage B – Personal and Advertising Injury Liability, Paragraph 2., Exclusions is
      amended to add the following:

       This insurance does not apply to:

       "Personal and advertising injury" to:



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       (1) A person arising out of any:
           (a) Refusal to employ that person;
           (b) Termination of that person's employment; or
           (c) Employment-related practices, policies, acts or omissions, such as coercion, demotion,
               evaluation, reassignment, discipline, defamation, harassment, humiliation, discrimination or
               malicious prosecution directed at that person; or

       (2) The spouse, child, parent, brother or sister of that person as a consequence of "personal and
           advertising injury" to that person at whom any of the employment-related practices described in
           Paragraphs (a), (b), or (c) above is directed.

       This exclusion applies:

       (1) Whether the injury-causing event described in Paragraphs (a), (b) or (c) above occurs before
           employment, during employment or after employment of that person;
       (2) Whether the insured may be liable as an employer or in any other capacity; and
       (3) To any obligation to share damages with or repay someone else who must pay damages because of
           the injury.

5. EXCLUSION – EXTERIOR INSULATION AND FINISHING SYSTEMS (EIFS)

   SECTION I – COVERAGES, Paragraph 2. Exclusions of COVERAGE A – BODILY INJURY AND
   PROPERTY DAMAGE LIABILITY, and Paragraph 2. Exclusions of COVERAGE B – PERSONAL AND
   ADVERTISING INJURY LIABILITY are amended to add the following:

   A. This insurance does not apply to "bodily injury," "property damage" or "personal and advertising injury"
      arising out of, caused by, or attributable to, whether in whole or in part, the following:

       (1) The design, manufacture, construction, fabrication, preparation, distribution and sale, installation,
           application, maintenance or repair, including remodeling, service, correction or replacement, of any
           "exterior insulation and finish system" or any part thereof, or any substantially similar system or any
           part thereof, including the application or use of conditioners, primers, accessories, flashings, coatings,
           caulking or sealants in connection with such a system; or

       (2) "Your product" or "your work" with respect to any exterior component, fixture or feature of any
           structure if an "exterior insulation and finish system," or any substantially similar system, is used on
           the part of that structure containing that component, fixture or feature.

   B. The following definition is added to the Definitions Section:

       "Exterior insulation and finish system" means a non-load bearing exterior cladding or finish system, and
       all component parts therein, used on any part of any structure, and consisting of:

       (1) A rigid or semi-rigid insulation board made of expanded polystyrene and other materials;

       (2) The adhesive and/or mechanical fasteners used to attach the insulation board to the substrate;

       (3) A reinforced or unreinforced base coat;

       (4) A finish coat providing surface texture to which color may be added; and

       (5) Any flashing, caulking or sealant used with the system for any purpose



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6. EXCLUSION – MOLD, MILDEW OR FUNGUS

   A. Section I – Coverage A – Bodily Injury and Property Damage Liability, Paragraph 2. Exclusions is
      amended to add the following:

       This insurance does not apply to:

       Fungi Or Bacteria

       (1) "Bodily injury" or "property damage" which would not have occurred, in whole or in part, but for the
           actual, alleged or threatened inhalation of, ingestion of, contact with, exposure to, existence of, or
           presence of, any "fungi" or bacteria on or within a building or structure, including its contents,
           regardless of whether any other cause, event, material or product contributed concurrently or in any
           sequence to such injury or damage.

       (2) Any loss, cost or expenses arising out of the abating, testing for, monitoring, cleaning up, removing,
           containing, treating, detoxifying, neutralizing, remediating or disposing of, or in any way responding
           to, or assessing the effects of, "fungi" or bacteria, by any insured or by any other person or entity.

       This exclusion does not apply to any "fungi" or bacteria that are, are on, or are contained in, a good or
       product intended for bodily consumption.

   B. Section I – Coverage B – Personal and Advertising Injury Liability, Paragraph 2. Exclusions is
      amended to add the following:

       This insurance does not apply to:

       Fungi Or Bacteria

       (1) "Personal and advertising injury" which would not have taken place, in whole or in part, but for the
           actual, alleged or threatened inhalation of, ingestion of, contact with, exposure to, existence of, or
           presence of any "fungi" or bacteria on or within a building or structure, including its contents,
           regardless of whether any other cause, event, material or product contributed concurrently or in any
           sequence to such injury.

       (2) Any loss, cost or expense arising out of the abating, testing for, monitoring, cleaning up, removing,
           containing, treating, detoxifying, neutralizing, remediating or disposing of, or in any way responding
           to, or assessing the effects of, "fungi" or bacteria, by any insured or by any other person or entity.

   C. The following definition is added to the Definitions Section:

       "Fungi" means any type or form of fungus, including mold or mildew and any mycotoxins, spores, scents
       or byproducts produced or released by fungi.

7. EXCLUSION – NUCLEAR ENERGY LIABILITY

   The insurance does not apply:

   A. Under any Liability Coverage, to "bodily injury" or "property damage":

       (1) With respect to which an "insured" under the policy is also an insured under a nuclear energy liability
           policy issued by Nuclear Energy Liability Insurance Association, Mutual Atomic Energy Liability
           Underwriters, Nuclear Insurance Association of Canada or any of their successors, or would be an
           insured under any such policy but for its termination upon exhaustion of its limit of liability; or


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       (2) Resulting from the "hazardous properties" of "nuclear material" and with respect to which (a) any
           person or organization is required to maintain financial protection pursuant to the Atomic Energy Act
           of 1954, or any law amendatory thereof, or (b) the "insured" is, or had this policy not been issued
           would be, entitled to indemnity from the United States of America, or any agency thereof, under any
           agreement entered into by the United States of America, or any agency thereof, with any person or
           organization.

   B. Under any Liability Coverage, to "bodily injury" or "property damage" resulting from "hazardous
      properties" of "nuclear material," if:

       (1) The "nuclear material"
           (a) is at any "nuclear facility" owned by, or operated by or on behalf of, an "insured" or
           (b) has been discharged or dispersed therefrom;

       (2) The "nuclear material" is contained in "spent fuel" or "waste" at any time possessed, handled, used,
           processed, stored, transported or disposed of, by or on behalf of an "insured"; or

       (3) The "bodily injury" or "property damage" arises out of the furnishing by an "insured" of services,
           materials, parts or equipment in connection with the planning, construction, maintenance, operation
           or use of any "nuclear facility," but if such facility is located within the United States of America, its
           territories or possessions or Canada, this exclusion (3) applies only to "property damage" to such
           "nuclear facility" and any property thereat.

       As used in this endorsement:

       (1) "Hazardous properties" includes radioactive, toxic or explosive properties.

       (2) "Nuclear material" means "source material," "special nuclear material" or "by-product material."

       (3) "Source material," "special nuclear material," and "by-product material" have the meanings given
           them in the Atomic Energy Act of 1954 or in any law amendatory thereof.

       (4) "Spent fuel" means any fuel element or fuel component, solid or liquid, which has been used or
           exposed to radiation in a "nuclear reactor."

       (5) "Waste" means any waste material
           (a) containing "by-product material" other than the tailings or wastes produced by the extraction or
               concentration of uranium or thorium from any ore processed primarily for its "source material"
               content, and
           (b) resulting from the operation by any person or organization of any "nuclear facility" included under
               the first two paragraphs of the definition of "nuclear facility."

       (6) "Nuclear facility" means:
           (a) Any "nuclear reactor";
           (b) Any equipment or device designed or used for
               i. separating the isotopes of uranium or plutonium,
               ii. processing or utilizing "spent fuel," or
               iii. handling, processing or packaging "waste";
           (c) Any equipment or device used for the processing, fabricating or alloying of "special nuclear
               material" if at any time the total amount of such material in the custody of the "insured" at the
               premises where such equipment or device is located consists of or contains more than 25 grams
               of plutonium or uranium 233 or any combination thereof, or more than 250 grams of uranium 235;



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           (d) Any structure, basin, excavation, premises or place prepared or used for the storage or disposal
               of "waste," and includes the site on which any of the foregoing is located, all operations
               conducted on such site and all premises used for such operations.

       (7) "Nuclear reactor" means any apparatus designed or used to sustain nuclear fission in a self-
           supporting chain reaction or to contain a critical mass of fissionable material.

8. EXCLUSION – SILICA OR SILICA RELATED DUST

   A. Section I – Coverage A – Bodily Injury and Property Damage Liability, Paragraph 2., Exclusions is
      amended to add the following:

       This insurance does not apply to:

       Silica Or Silica-Related Dust

       (1) "Bodily injury" arising, in whole or in part, out of the actual, alleged, threatened or suspected
           inhalation of, or ingestion of, "silica" or "silica-related dust."

       (2) "Property damage" arising, in whole or in part, out of the actual, alleged, threatened or suspected
           contact with, exposure to, existence of, or presence of, "silica" or "silica-related dust."

       (3) Any loss, cost or expense arising, in whole or in part, out of the abating, testing for, monitoring,
           cleaning up, removing, containing, treating, detoxifying, neutralizing, remediating or disposing of, or in
           any way responding to or assessing the effects of "silica" or "silica-related dust" by any insured or by
           any other person or entity.

   B. The following exclusion is added to Paragraph 2., Exclusions of Section I – Coverage B – Personal
      and Advertising Injury Liability:

       This insurance does not apply to:

       Silica Or Silica-Related Dust

       (1) "Personal and advertising injury" arising, in whole or in part, out of the actual, alleged, threatened or
           suspected inhalation of, ingestion of, contact with, exposure to, existence of, or presence of, "silica"
           or "silica-related dust".

       (2) Any loss, cost or expense arising, in whole or in part, out of the abating, testing for, monitoring,
           cleaning up, removing, containing, treating, detoxifying, neutralizing, remediating or disposing of, or in
           any way responding to or assessing the effects of, "silica" or "silica-related dust," by any insured or by
           any other person or entity.

   C. The following definitions are added to the Definitions Section:

       (1) "Silica" means silicon dioxide (occurring in crystalline, amorphous and impure forms), silica particles,
           silica dust or silica compounds.

       (2) "Silica-related dust" means a mixture or combination of silica and other dust or particles.




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9. EXCLUSION – TOTAL LEAD

   Section I – COVERAGES, COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
   Paragraph 2. Exclusions, and COVERAGE B – PERSONAL AND ADVERTISING INJURY LIABILITY,
   Paragraph 2. Exclusions are amended to add the following:

   This insurance does not apply to:

   (A) "Bodily injury," "property damage," or "personal and advertising injury," arising out of, resulting from,
       caused by or contributed to by the presence, ingestion, inhalation, or absorption of or exposure to lead,
       lead compounds, or lead contained in any materials;

   (B) Any cost or expense to abate, mitigate, remove, or dispose of lead, lead compounds or materials
       containing lead;

   (C) Any supervision, instruction, recommendations, warnings or advice given or which should have been
       given in connection with parts (A) or (B) above; or

   (D) Any obligation to share damages with or repay anyone else who must pay damages in connection
       with parts (A), (B) or (C) above.

10. EXCLUSION – USL&H, JONES ACT and MARTIME

   Section I COVERAGES, COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
   Paragraph 2. Exclusions, and COVERAGE B – PERSONAL AND ADVERTISING INJURY LIABILITY,
   Paragraph 2. Exclusions are amended to add the following:

   This insurance does not apply to “bodily injury,” “property damage” or “personal and advertising injury” arising
   out of or resulting from:

   (A) operations over navigable waters or offshore including but not limited to drilling and production platforms,
       pipelines, and vessels; or

   (B) direct or indirect actions including but not limited to subrogation involving U.S. Longshore & Harbor
       Workers Compensation Act (USL&H), Merchant Marine Act ("Jones Act") or other maritime laws and any
       amendments to those laws.




             ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                EXCLUSION – WORK HEIGHT LIMITATION

This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART
        PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. The following Exclusion is added to SECTION I – COVERAGES, paragraph 2. Exclusions of COVERAGE
   A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY:

    2. Exclusions

        This insurance does not apply to:

        Work Height

        (1) "bodily injury" or "property damage" arising out of or resulting from ongoing operations
           performed above a ground height of three stories or 36 feet on the exterior of any building or
           structure conducted by you or on your behalf for yourself or for others; or

        (2) “bodily injury” or “property damage” included in the “products-completed operations hazard”
           and arising out of or resulting from “your work” performed above a ground height of three
           stories or 36 feet on the exterior of any building or structure.



ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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